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                    EXHIBIT 1
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                P.O. Box 507
                New York, NY 10013-0507




                       THOMAS GIRARDI
                       1126 WILSHIRE BLVD
                       LOS ANGELES CA 90017




                       Account No
                       Investment Representative
                       Statement Period               2019-10-01 to 2019-10-31

                       For questions please contact
                       MORGAN STANLEY & CO. LLC
                       1585 Broadway
                       New York, NY 10036-8293
                       (212) 761-4000




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THOMAS GIRARDI

ACCOUNT NO                                                                                                                                             REPORTED IN
STATEMENT PERIOD        2019-10-01 to 2019-10-31                                                                                                 US DOLLARS
OTHER ACTIVITY FOR THIS PERIOD                                                              (Continued)
TRADE DATE       SETTLEMENT DATE   ACCOUNT TYPE                      QUANTITY DESCRIPTION                                                          INFLOWS/(OUTFLOWS)

                                   Net Activity for This Period                                                                                     (15,787,293.19)




                                                  Please see end of statement for additional disclosures, information and terms and conditions           Page 4 of 6
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Please advise your investments representative immediately of any discrepancies in securities transactions or investment activity in your account, and in order to protect your rights, including those provided under the Securities Investor Protection Act (SIPA),
confirm any such oral communications in writing.

TERMS AND CONDITIONS

We provide both trade date and settlement date activity on your statements.                 of these sources and are not responsible for any inaccuracies. In instances where prices        WHEN ISSUED TRANSACTIONS: Any transaction involving an unissued security may
Confirmations of transactions have been made to you pursuant to SEC Rule 10b-10 and         of securities are not readily available from such sources, "NA" (Not Available) will appear     be reflected in this statement under the trades pending settlement section. When, as, and
of futures transactions pursuant to CFTC Rule 1 33. Immediately notify the Compliance       in the price column, the market value for the security is not computed, and the total equity    if the security is issued, the transaction may then appear in the regular activity section of
Director at address indicated below, if you have not received a confirmation.               in your account does not reflect the long or short market value (if any) of those securities.   the statement.
All transactions are subject to the constitutions, rules, regulations, customs, usages,     YTD VALUES: YTD figures are based on transactions that post in the current calendar             FUTURES TRANSACTIONS: Further information regarding the futures transactions
rulings and interpretation of the pertinent exchanges, markets self-regulatory              year.                                                                                           confirmed herein will be furnished upon request. Futures transactions are subject to the
organizations, and clearing houses.                                                                                                                                                         terms and conditions of your Commodity Futures Customer agreement, and other
                                                                                            ESTIMATED ANNUAL DIVIDEND RATE AND INCOME: Estimated annual dividend,                           applicable documentation. Our financial statement is available for your inspection at our
We trade for our own account as an odd lot dealer, a block positioner or arbitrageur. At    bond interest rate and annual income are derived from standard statistical sources. We          offices or a copy of it will be mailed to you upon your written request.
the time of any transaction in your account, we may have a long or short position in the    do not guarantee the accuracy of such information. As the figures are subject to change
same security and our position may be completely or partially hedged.                       at any time, they should not be relied upon for investment or trading decisions.                This statement, its enforcement, and any dispute between us shall be governed by the
                                                                                                                                                                                            laws of the state of New York, excluding its conflict of laws provisions.
If your statement contains a transaction or position in a mutual fund, we may receive       SECURITIES MATURING OR EXPIRING NEXT TWO MONTHS: Securities which
compensation from the fund or its advisor as described in the fund's prospectus. Any        mature (e g., bonds) or expire (e.g., options) may appear on the monthly statement prior        This statement shall be conclusive and binding if not objected to in writing within ten days
information on this statement relating to a mutual fund has been provided to us by the      to the maturity or expiration month. The actual maturity or expiration date, quantity,          after transmittal to you by mail or otherwise. A shorter notice period for objection to
fund.                                                                                       description and current market price may be reflected on the statement.                         confirmed term of futures transactions may apply, please consult your Commodity
                                                                                                                                                                                            Futures Customer Agreement.
Please note that all money entries and balances that are identified under the summary       MULTIPLE CURRENCY REPORTING: Foreign exchange rates are from sources we
section are credits to your account unless specified as a debit by an amount in             consider to be reliable but they may not reflect realizable rates. We do not warrant the        DIRECT PARTICIPATION PROGRAMS ("DPP") AND REAL ESTATE INVESTMENT
parenthesis.                                                                                accuracy of these sources and are not responsible for any inaccuracies.                         TRUSTS ("REIT"): If your statement contains month-end valuations for DPPs or REITs,
                                                                                                                                                                                            such values may be estimated and obtained from pricing services or from the issuer in its
Please promptly advise your Investments Representative of any material changes in your      LISTED OPTIONS: Further information with respect to commissions and other charges               annual report. If your statement does not contain month-end valuations for such
investment objectives or financial situation.                                               related to the execution of listed option transactions has been previously furnished to you     instruments, it may be because accurate valuation information is not available. In any
                                                                                            in confirmations of such transactions. A summary of such information will be made               event, such securities are often illiquid and any estimated value may not be realized upon
PORTFOLIO SUMMARY: The month-end valuations of your portfolios are computed                 available to you promptly upon request.
using prices from pricing services and other sources we consider to be generally reliable                                                                                                   sale. The actual value of such instruments will most likely be different than the original
in approximating the value of securities held in your account. These valuations, however,   TRANSACTIONS PENDING SETTLEMENT: are reflected in the Trade Date sections but                   purchase price.
are sometimes outdated as of the date your monthly statement is prepared and,               do not imply a guarantee of settlement.
accordingly, may not reflect values that can be realized. We do not warrant the accuracy

FOR CUSTOMERS OF THE UNITED STATES SUBSIDIARIES AND AFFILIATES OF MORGAN STANLEY

Any issues concerning your account should be addressed to the Institutional Client          the U.S. Securities and Exchange Commission under the Securities Act of 1933. Your               FINRA has established the public disclosure program, known as BrokerCheck, to
Services Division at (443) 627-6551 or at Morgan Stanley & Co. LLC, Institutional Client    pledged or transferred assets may not be protected by SIPC or additional coverage.               provide certain information regarding the disciplinary history of FINRA members and
Services Division, 1585 Broadway, New York, N.Y. 10036 U.S.A.                                                                                                                                their associated persons. The BrokerCheck Hotline Number is 1-800-289-9999. The
                                                                                            Clients may obtain information about the Securities Investor Protection Corporation              FINRA web site address is www.finra.org. An investor brochure that includes
This statement should be preserved, as it may be necessary for the preparation and          (SIPC), including the S PC brochure, by contacting S PC at 1-202-371-8300 or by                  information describing FINRA BrokerCheck may be obtained from FINRA.
subsequent examination of your income tax returns and verify interest charges that may      visiting www.sipc.org.
appear on your next statement. We are required by law to report to the Internal
Revenue Service certain dividends, registered bond interest and the net proceeds of         We can use your closing credit balance in our business, subject to the limitations of 17
certain transactions.                                                                       CFR Section 240.15c3-3 promulgated under the Securities Exchange Act of 1934. You                Municipal Advisor Rule; Disclosures for Municipal Entities and Obligated Persons:
                                                                                            have the absolute right to receive, in the normal course of business, any free credit
                                                                                                                                                                                             Morgan Stanley Wealth Management is not acting as a municipal advisor to any
Morgan Stanley & Co. LLC is a member of the Securities Investor Production                  balance and any fully paid for securities subject to any open commitments in any of your
Corporation (SIPC). Therefore, subject to certain SIPC restrictions, securities and cash    accounts. You are entitled to receive securities purchased on margin upon full payment           municipal entity or obligated person within the meaning of Section 15B of the Securities
                                                                                                                                                                                             Exchange Act (the "Municipal Advisor Rule"). If you have a Brokerage Account, please
held by us in your account are protected up to $500,000 per client (including up to         of any indebtedness to us If this is a margin account, this is a combined statement of
$250,000 for cash). Morgan Stanley & Co. LLC has obtained coverage in addition to the       your general account and the special memorandum account maintained for you under                 note that: 1) Morgan Stanley Wealth Management does not owe you a fiduciary duty
                                                                                                                                                                                             pursuant to the Municipal Advisor Rule when Morgan Stanley Wealth Management
existing SIPC protection from a major insurance underwriter to cover each client's total    Regulation T issued by the Board of Governors of the Federal Reserve System. The
net equity value of cash and securities held in the client's Morgan Stanley & Co. LLC       permanent balanced records of the special account, as required by federal regulations,           makes statements or provides you with information regarding your Brokerage Account;
                                                                                                                                                                                             2) Morgan Stanley Wealth Management may be acting for its own interests and 3)
account. SIPC coverage does not protect against changes in market value.                    are available for your inspection upon request.
                                                                                                                                                                                             before acting on any statements made or information provided by Morgan Stanley
Among the investments that are ineligible for SIPC protections are commodity futures        In accordance with SEC Rule 606, upon written request, Morgan Stanley & Co. LLC will             Wealth Management, you should consult any and all advisors as you deem appropriate.
contracts (unless in portfolio margining accounts and defined as customer property          disclose the identity of the venue to which your orders were routed for execution,
under the Securities Investor Protection Act), fixed annuity contracts, and currency as     whether the orders were directed or non directed, and the time of the executions, if any,
well as investment contracts (such as limited partnerships) that are not registered with    that resulted from such orders.

FOR CUSTOMERS OF THE NON-UNITED STATES SUBSIDIARIES AND AFFILIATES OF MORGAN STANLEY

Any complaints concerning your account should be addressed to the Compliance                CUSTOMERS OF MORGAN STANLEY & CO. INTERNATIONAL PLC                                              Charges and taxes deducted in respect of transactions have been set out in previous
Director at the Morgan Stanley entity of which you are a customer.                                                                                                                           contract notes, confirmations or statements.


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                                                                                                                              End of Statement                                                                                                                          Page 6 of 6
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                P.O. Box 507
                New York, NY 10013-0507




                       THOMAS GIRARDI
                       1126 WILSHIRE BLVD
                       LOS ANGELES CA 90017




                       Account No
                       Investment Representative
                       Statement Period               2020-03-01 to 2020-03-31
                       Last Statement Date            2019-10-31

                       For questions please contact
                       MORGAN STANLEY & CO. LLC
                       1585 Broadway
                       New York, NY 10036-8293
                       (212) 761-4000




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Please advise your investments representative immediately of any discrepancies in securities transactions or investment activity in your account, and in order to protect your rights, including those provided under the Securities Investor Protection Act (SIPA),
confirm any such oral communications in writing.

TERMS AND CONDITIONS

We provide both trade date and settlement date activity on your statements.                 of these sources and are not responsible for any inaccuracies. In instances where prices        WHEN ISSUED TRANSACTIONS: Any transaction involving an unissued security may
Confirmations of transactions have been made to you pursuant to SEC Rule 10b-10 and         of securities are not readily available from such sources, "NA" (Not Available) will appear     be reflected in this statement under the trades pending settlement section. When, as, and
of futures transactions pursuant to CFTC Rule 1 33. Immediately notify the Compliance       in the price column, the market value for the security is not computed, and the total equity    if the security is issued, the transaction may then appear in the regular activity section of
Director at address indicated below, if you have not received a confirmation.               in your account does not reflect the long or short market value (if any) of those securities.   the statement.
All transactions are subject to the constitutions, rules, regulations, customs, usages,     YTD VALUES: YTD figures are based on transactions that post in the current calendar             FUTURES TRANSACTIONS: Further information regarding the futures transactions
rulings and interpretation of the pertinent exchanges, markets self-regulatory              year.                                                                                           confirmed herein will be furnished upon request. Futures transactions are subject to the
organizations, and clearing houses.                                                                                                                                                         terms and conditions of your Commodity Futures Customer agreement, and other
                                                                                            ESTIMATED ANNUAL DIVIDEND RATE AND INCOME: Estimated annual dividend,                           applicable documentation. Our financial statement is available for your inspection at our
We trade for our own account as an odd lot dealer, a block positioner or arbitrageur. At    bond interest rate and annual income are derived from standard statistical sources. We          offices or a copy of it will be mailed to you upon your written request.
the time of any transaction in your account, we may have a long or short position in the    do not guarantee the accuracy of such information. As the figures are subject to change
same security and our position may be completely or partially hedged.                       at any time, they should not be relied upon for investment or trading decisions.                This statement, its enforcement, and any dispute between us shall be governed by the
                                                                                                                                                                                            laws of the state of New York, excluding its conflict of laws provisions.
If your statement contains a transaction or position in a mutual fund, we may receive       SECURITIES MATURING OR EXPIRING NEXT TWO MONTHS: Securities which
compensation from the fund or its advisor as described in the fund's prospectus. Any        mature (e g., bonds) or expire (e.g., options) may appear on the monthly statement prior        This statement shall be conclusive and binding if not objected to in writing within ten days
information on this statement relating to a mutual fund has been provided to us by the      to the maturity or expiration month. The actual maturity or expiration date, quantity,          after transmittal to you by mail or otherwise. A shorter notice period for objection to
fund.                                                                                       description and current market price may be reflected on the statement.                         confirmed term of futures transactions may apply, please consult your Commodity
                                                                                                                                                                                            Futures Customer Agreement.
Please note that all money entries and balances that are identified under the summary       MULTIPLE CURRENCY REPORTING: Foreign exchange rates are from sources we
section are credits to your account unless specified as a debit by an amount in             consider to be reliable but they may not reflect realizable rates. We do not warrant the        DIRECT PARTICIPATION PROGRAMS ("DPP") AND REAL ESTATE INVESTMENT
parenthesis.                                                                                accuracy of these sources and are not responsible for any inaccuracies.                         TRUSTS ("REIT"): If your statement contains month-end valuations for DPPs or REITs,
                                                                                                                                                                                            such values may be estimated and obtained from pricing services or from the issuer in its
Please promptly advise your Investments Representative of any material changes in your      LISTED OPTIONS: Further information with respect to commissions and other charges               annual report. If your statement does not contain month-end valuations for such
investment objectives or financial situation.                                               related to the execution of listed option transactions has been previously furnished to you     instruments, it may be because accurate valuation information is not available. In any
                                                                                            in confirmations of such transactions. A summary of such information will be made               event, such securities are often illiquid and any estimated value may not be realized upon
PORTFOLIO SUMMARY: The month-end valuations of your portfolios are computed                 available to you promptly upon request.
using prices from pricing services and other sources we consider to be generally reliable                                                                                                   sale. The actual value of such instruments will most likely be different than the original
in approximating the value of securities held in your account. These valuations, however,   TRANSACTIONS PENDING SETTLEMENT: are reflected in the Trade Date sections but                   purchase price.
are sometimes outdated as of the date your monthly statement is prepared and,               do not imply a guarantee of settlement.
accordingly, may not reflect values that can be realized. We do not warrant the accuracy

FOR CUSTOMERS OF THE UNITED STATES SUBSIDIARIES AND AFFILIATES OF MORGAN STANLEY

Any issues concerning your account should be addressed to the Institutional Client          the U.S. Securities and Exchange Commission under the Securities Act of 1933. Your               FINRA has established the public disclosure program, known as BrokerCheck, to
Services Division at (443) 627-6551 or at Morgan Stanley & Co. LLC, Institutional Client    pledged or transferred assets may not be protected by SIPC or additional coverage.               provide certain information regarding the disciplinary history of FINRA members and
Services Division, 1585 Broadway, New York, N.Y. 10036 U.S.A.                                                                                                                                their associated persons. The BrokerCheck Hotline Number is 1-800-289-9999. The
                                                                                            Clients may obtain information about the Securities Investor Protection Corporation              FINRA web site address is www.finra.org. An investor brochure that includes
This statement should be preserved, as it may be necessary for the preparation and          (SIPC), including the S PC brochure, by contacting S PC at 1-202-371-8300 or by                  information describing FINRA BrokerCheck may be obtained from FINRA.
subsequent examination of your income tax returns and verify interest charges that may      visiting www.sipc.org.
appear on your next statement. We are required by law to report to the Internal
Revenue Service certain dividends, registered bond interest and the net proceeds of         We can use your closing credit balance in our business, subject to the limitations of 17
certain transactions.                                                                       CFR Section 240.15c3-3 promulgated under the Securities Exchange Act of 1934. You                Municipal Advisor Rule; Disclosures for Municipal Entities and Obligated Persons:
                                                                                            have the absolute right to receive, in the normal course of business, any free credit
                                                                                                                                                                                             Morgan Stanley Wealth Management is not acting as a municipal advisor to any
Morgan Stanley & Co. LLC is a member of the Securities Investor Production                  balance and any fully paid for securities subject to any open commitments in any of your
Corporation (SIPC). Therefore, subject to certain SIPC restrictions, securities and cash    accounts. You are entitled to receive securities purchased on margin upon full payment           municipal entity or obligated person within the meaning of Section 15B of the Securities
                                                                                                                                                                                             Exchange Act (the "Municipal Advisor Rule"). If you have a Brokerage Account, please
held by us in your account are protected up to $500,000 per client (including up to         of any indebtedness to us If this is a margin account, this is a combined statement of
$250,000 for cash). Morgan Stanley & Co. LLC has obtained coverage in addition to the       your general account and the special memorandum account maintained for you under                 note that: 1) Morgan Stanley Wealth Management does not owe you a fiduciary duty
                                                                                                                                                                                             pursuant to the Municipal Advisor Rule when Morgan Stanley Wealth Management
existing SIPC protection from a major insurance underwriter to cover each client's total    Regulation T issued by the Board of Governors of the Federal Reserve System. The
net equity value of cash and securities held in the client's Morgan Stanley & Co. LLC       permanent balanced records of the special account, as required by federal regulations,           makes statements or provides you with information regarding your Brokerage Account;
                                                                                                                                                                                             2) Morgan Stanley Wealth Management may be acting for its own interests and 3)
account. SIPC coverage does not protect against changes in market value.                    are available for your inspection upon request.
                                                                                                                                                                                             before acting on any statements made or information provided by Morgan Stanley
Among the investments that are ineligible for SIPC protections are commodity futures        In accordance with SEC Rule 606, upon written request, Morgan Stanley & Co. LLC will             Wealth Management, you should consult any and all advisors as you deem appropriate.
contracts (unless in portfolio margining accounts and defined as customer property          disclose the identity of the venue to which your orders were routed for execution,
under the Securities Investor Protection Act), fixed annuity contracts, and currency as     whether the orders were directed or non directed, and the time of the executions, if any,
well as investment contracts (such as limited partnerships) that are not registered with    that resulted from such orders.

FOR CUSTOMERS OF THE NON-UNITED STATES SUBSIDIARIES AND AFFILIATES OF MORGAN STANLEY

Any complaints concerning your account should be addressed to the Compliance                CUSTOMERS OF MORGAN STANLEY & CO. INTERNATIONAL PLC                                              Charges and taxes deducted in respect of transactions have been set out in previous
Director at the Morgan Stanley entity of which you are a customer.                                                                                                                           contract notes, confirmations or statements.


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                                                                                                                              End of Statement                                                                                                                          Page 6 of 6
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                P.O. Box 507
                New York, NY 10013-0507




                       THOMAS GIRARDI
                       1126 WILSHIRE BLVD
                       LOS ANGELES CA 90017




                       Account No
                       Investment Representative
                       Statement Period               2019-10-01 to 2019-10-31

                       For questions please contact
                       MORGAN STANLEY & CO. LLC
                       1585 Broadway
                       New York, NY 10036-8293
                       (212) 761-4000




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Please advise your investments representative immediately of any discrepancies in securities transactions or investment activity in your account, and in order to protect your rights, including those provided under the Securities Investor Protection Act (SIPA),
confirm any such oral communications in writing.

TERMS AND CONDITIONS

We provide both trade date and settlement date activity on your statements.                 of these sources and are not responsible for any inaccuracies. In instances where prices        WHEN ISSUED TRANSACTIONS: Any transaction involving an unissued security may
Confirmations of transactions have been made to you pursuant to SEC Rule 10b-10 and         of securities are not readily available from such sources, "NA" (Not Available) will appear     be reflected in this statement under the trades pending settlement section. When, as, and
of futures transactions pursuant to CFTC Rule 1 33. Immediately notify the Compliance       in the price column, the market value for the security is not computed, and the total equity    if the security is issued, the transaction may then appear in the regular activity section of
Director at address indicated below, if you have not received a confirmation.               in your account does not reflect the long or short market value (if any) of those securities.   the statement.
All transactions are subject to the constitutions, rules, regulations, customs, usages,     YTD VALUES: YTD figures are based on transactions that post in the current calendar             FUTURES TRANSACTIONS: Further information regarding the futures transactions
rulings and interpretation of the pertinent exchanges, markets self-regulatory              year.                                                                                           confirmed herein will be furnished upon request. Futures transactions are subject to the
organizations, and clearing houses.                                                                                                                                                         terms and conditions of your Commodity Futures Customer agreement, and other
                                                                                            ESTIMATED ANNUAL DIVIDEND RATE AND INCOME: Estimated annual dividend,                           applicable documentation. Our financial statement is available for your inspection at our
We trade for our own account as an odd lot dealer, a block positioner or arbitrageur. At    bond interest rate and annual income are derived from standard statistical sources. We          offices or a copy of it will be mailed to you upon your written request.
the time of any transaction in your account, we may have a long or short position in the    do not guarantee the accuracy of such information. As the figures are subject to change
same security and our position may be completely or partially hedged.                       at any time, they should not be relied upon for investment or trading decisions.                This statement, its enforcement, and any dispute between us shall be governed by the
                                                                                                                                                                                            laws of the state of New York, excluding its conflict of laws provisions.
If your statement contains a transaction or position in a mutual fund, we may receive       SECURITIES MATURING OR EXPIRING NEXT TWO MONTHS: Securities which
compensation from the fund or its advisor as described in the fund's prospectus. Any        mature (e g., bonds) or expire (e.g., options) may appear on the monthly statement prior        This statement shall be conclusive and binding if not objected to in writing within ten days
information on this statement relating to a mutual fund has been provided to us by the      to the maturity or expiration month. The actual maturity or expiration date, quantity,          after transmittal to you by mail or otherwise. A shorter notice period for objection to
fund.                                                                                       description and current market price may be reflected on the statement.                         confirmed term of futures transactions may apply, please consult your Commodity
                                                                                                                                                                                            Futures Customer Agreement.
Please note that all money entries and balances that are identified under the summary       MULTIPLE CURRENCY REPORTING: Foreign exchange rates are from sources we
section are credits to your account unless specified as a debit by an amount in             consider to be reliable but they may not reflect realizable rates. We do not warrant the        DIRECT PARTICIPATION PROGRAMS ("DPP") AND REAL ESTATE INVESTMENT
parenthesis.                                                                                accuracy of these sources and are not responsible for any inaccuracies.                         TRUSTS ("REIT"): If your statement contains month-end valuations for DPPs or REITs,
                                                                                                                                                                                            such values may be estimated and obtained from pricing services or from the issuer in its
Please promptly advise your Investments Representative of any material changes in your      LISTED OPTIONS: Further information with respect to commissions and other charges               annual report. If your statement does not contain month-end valuations for such
investment objectives or financial situation.                                               related to the execution of listed option transactions has been previously furnished to you     instruments, it may be because accurate valuation information is not available. In any
                                                                                            in confirmations of such transactions. A summary of such information will be made               event, such securities are often illiquid and any estimated value may not be realized upon
PORTFOLIO SUMMARY: The month-end valuations of your portfolios are computed                 available to you promptly upon request.
using prices from pricing services and other sources we consider to be generally reliable                                                                                                   sale. The actual value of such instruments will most likely be different than the original
in approximating the value of securities held in your account. These valuations, however,   TRANSACTIONS PENDING SETTLEMENT: are reflected in the Trade Date sections but                   purchase price.
are sometimes outdated as of the date your monthly statement is prepared and,               do not imply a guarantee of settlement.
accordingly, may not reflect values that can be realized. We do not warrant the accuracy

FOR CUSTOMERS OF THE UNITED STATES SUBSIDIARIES AND AFFILIATES OF MORGAN STANLEY

Any issues concerning your account should be addressed to the Institutional Client          the U.S. Securities and Exchange Commission under the Securities Act of 1933. Your               FINRA has established the public disclosure program, known as BrokerCheck, to
Services Division at (443) 627-6551 or at Morgan Stanley & Co. LLC, Institutional Client    pledged or transferred assets may not be protected by SIPC or additional coverage.               provide certain information regarding the disciplinary history of FINRA members and
Services Division, 1585 Broadway, New York, N.Y. 10036 U.S.A.                                                                                                                                their associated persons. The BrokerCheck Hotline Number is 1-800-289-9999. The
                                                                                            Clients may obtain information about the Securities Investor Protection Corporation              FINRA web site address is www.finra.org. An investor brochure that includes
This statement should be preserved, as it may be necessary for the preparation and          (SIPC), including the S PC brochure, by contacting S PC at 1-202-371-8300 or by                  information describing FINRA BrokerCheck may be obtained from FINRA.
subsequent examination of your income tax returns and verify interest charges that may      visiting www.sipc.org.
appear on your next statement. We are required by law to report to the Internal
Revenue Service certain dividends, registered bond interest and the net proceeds of         We can use your closing credit balance in our business, subject to the limitations of 17
certain transactions.                                                                       CFR Section 240.15c3-3 promulgated under the Securities Exchange Act of 1934. You                Municipal Advisor Rule; Disclosures for Municipal Entities and Obligated Persons:
                                                                                            have the absolute right to receive, in the normal course of business, any free credit
                                                                                                                                                                                             Morgan Stanley Wealth Management is not acting as a municipal advisor to any
Morgan Stanley & Co. LLC is a member of the Securities Investor Production                  balance and any fully paid for securities subject to any open commitments in any of your
Corporation (SIPC). Therefore, subject to certain SIPC restrictions, securities and cash    accounts. You are entitled to receive securities purchased on margin upon full payment           municipal entity or obligated person within the meaning of Section 15B of the Securities
                                                                                                                                                                                             Exchange Act (the "Municipal Advisor Rule"). If you have a Brokerage Account, please
held by us in your account are protected up to $500,000 per client (including up to         of any indebtedness to us If this is a margin account, this is a combined statement of
$250,000 for cash). Morgan Stanley & Co. LLC has obtained coverage in addition to the       your general account and the special memorandum account maintained for you under                 note that: 1) Morgan Stanley Wealth Management does not owe you a fiduciary duty
                                                                                                                                                                                             pursuant to the Municipal Advisor Rule when Morgan Stanley Wealth Management
existing SIPC protection from a major insurance underwriter to cover each client's total    Regulation T issued by the Board of Governors of the Federal Reserve System. The
net equity value of cash and securities held in the client's Morgan Stanley & Co. LLC       permanent balanced records of the special account, as required by federal regulations,           makes statements or provides you with information regarding your Brokerage Account;
                                                                                                                                                                                             2) Morgan Stanley Wealth Management may be acting for its own interests and 3)
account. SIPC coverage does not protect against changes in market value.                    are available for your inspection upon request.
                                                                                                                                                                                             before acting on any statements made or information provided by Morgan Stanley
Among the investments that are ineligible for SIPC protections are commodity futures        In accordance with SEC Rule 606, upon written request, Morgan Stanley & Co. LLC will             Wealth Management, you should consult any and all advisors as you deem appropriate.
contracts (unless in portfolio margining accounts and defined as customer property          disclose the identity of the venue to which your orders were routed for execution,
under the Securities Investor Protection Act), fixed annuity contracts, and currency as     whether the orders were directed or non directed, and the time of the executions, if any,
well as investment contracts (such as limited partnerships) that are not registered with    that resulted from such orders.

FOR CUSTOMERS OF THE NON-UNITED STATES SUBSIDIARIES AND AFFILIATES OF MORGAN STANLEY

Any complaints concerning your account should be addressed to the Compliance                CUSTOMERS OF MORGAN STANLEY & CO. INTERNATIONAL PLC                                              Charges and taxes deducted in respect of transactions have been set out in previous
Director at the Morgan Stanley entity of which you are a customer.                                                                                                                           contract notes, confirmations or statements.


12042B-R (R12-04)
                                                                                                                              End of Statement                                                                                                                          Page 6 of 6
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                     EXHIBIT 3
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                     EXHIBIT 4
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                     EXHIBIT 5
Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 28 of 184 Page ID #:2074




 Via E-Mail:

 May 14, 2020



 Dian Daniaty

 Re:    Lion Air distribution of settlement

 Dear Dian:

 We made an agreement with Boeing that all of the cases would be resolved. They gave
 us special authorization to distribute 50%. I feel fairly confident the balance will be done
 within 30 days.

 Thank you for your nice note.

 With kind regards,



 THOMAS V. GIRARDI
 TVG:kc




   1126 WILSHIRE BOULEVARD • LOS ANGELES, CALIFORNIA • 90017-1904
          TELEPHONE: 213-977-0211 • FACSIMILE: 213-481-1554
                                 WWW.GIRARDIKEESE.COM
Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 29 of 184 Page ID #:2075




                     EXHIBIT 6
Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 30 of 184 Page ID #:2076




 Via E-Mail:

 June 19, 2020



 Septi

 Re:     LionAir Case

 Dear Septi:

 There are some serious issues. I have been back east four times to get everything
 resolved. I think I need two more weeks. I will insist that, at least, we get the interest in
 two weeks, if I cannot resolve it.

 Your friend,



 TOM
 \kc




   1126 WILSHIRE BOULEVARD • LOS ANGELES, CALIFORNIA • 90017-1904
          TELEPHONE: 213-977-0211 • FACSIMILE: 213-481-1554
                                WWW.GIRARDIKEESE.COM
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                     EXHIBIT 7
                  Digital Recording
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                     EXHIBIT 8
                  Digital Recording
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                     EXHIBIT 9
Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 34 of 184 Page ID #:2080




 Via E-Mail:

 July 31, 2020



 Josefina Hernandez

 Re:     TVTS

 Dear Josie:

 We are trying desperately to get everything figured out. Since there's a Bankruptcy
 Trustee, we have to get an understanding of how much goes to the Trustee and how much
 goes to you.

 We would like to get this over with. If you could have the person who represented you in
 the bankruptcy give me a call, it would be very helpful.

 I am not getting much of a response from the Trustee.

 With kind regards,



 THOMAS V. GIRARDI
 TVG:kc

 29129




   1 1 2 6 W I L S HI R E B O U L EV AR D • LO S A N G E L E S, C A L I FO R N IA • 9 0 0 1 7 -19 04
              TE L E P H O N E: 2 1 3 -97 7-02 11 • F A C S I MI LE: 2 1 3-48 1-1 554
                                  WWW. G I RA RD I K EES E .COM
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                     EXHIBIT 10
Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 36 of 184 Page ID #:2082
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                     EXHIBIT 11
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    1           The Court having read and considered the Motion For Entry Of Order Approving

    2   Settlement Claim And Payment Of Counsel Employed By Debtors (the “Motion”) filed by

    3   Timothy J. Yoo, the duly appointed Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate

    4   of A         M         H           (“A          ”) and J          C        H            (“J       ”

    5   together with A        the “Debtors”) and the declaration of the Trustee’s counsel certifying

    6   that no response to and request for on the Motion was timely filed and good cause appearing

    7   therefor,

    8          IT IS HEREBY ORDERED AS FOLLOWS:

    9          1.     The Motion is granted in its entirety.
   10          2.     The terms and conditions of the settlement (the “Settlement”) reached

   11   concerning a claim asserted by J           in a case pending in the United States District Court for

   12   the Southern District of West Virginia (the “Claim”), which are detailed in the settlement

   13   agreement, which is attached as Exhibit 1 to the Declaration of Timothy J. Yoo annexed to the

   14   Motion are approved.

   15          3.     The Settlement Administrator is authorized to pay the liens, fees, costs and

   16   expenses under the terms of the Settlement, including, without limitation, J           ’s attorneys

   17   fees and costs, medical lien of Anthem BCBS, and MDL 2325 common benefit fund fees from

   18   the total settlement amount of $135,000.

   19   ///

   20   ///

   21   ///

   22   ///

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    1            4.     The Trustee, on behalf of the Trustee and the bankruptcy estate, and J       , are

    2    hereby authorized to enter into, execute and deliver any and all release documentation required

    3    by defendants and any other documents or instruments, if any, necessary or appropriate in order

    4    to effectuate the release of claims (the “Release”). Upon the Release becoming effective in

    5    accordance with its terms, the Trustee, the bankruptcy estate, J           and anyone making

    6    claims by, thorough or on behalf the Trustee, the bankruptcy estate and/or J       , shall be and

    7    hereby are deemed to have released all claims or causes of action relating to or arising from

    8    J       ’s Claim.

    9            IT IS SO ORDERED.
   10                                                 ###

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   24
        Date: March 5, 2020
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                     EXHIBIT 12
Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 62 of 184 Page ID #:2108
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Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 66 of 184 Page ID #:2112
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Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 68 of 184 Page ID #:2114




                     EXHIBIT 13
Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 69 of 184 Page ID #:2115




    LAW OFFICES OF EVAN A. JENNESS
                  777 SOUTH FIGUEROA STREET, STE. 3800
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                    TEL. (213) 630-5088 FAX (213) 683-1225
                        EVAN@JENNESSLAW.COM



                                     April 8, 2021



 John C. Kocoras, First Asst. U.S. Attorney
 Christopher Catizone, Asst. U.S. Attorney
 Office of the U.S. Attorney
 Dirksen Federal Bldg.
 219 S. Dearborn St.
 Chicago, IL 60604

 Via Email

 Re:   Thomas Girardi Investigation

 Dear Counsel:

 I am writing to provide information bearing on the mental status of my client,
 Thomas Girardi. Specifically: (1) a March 3, 2021 Comprehensive
 Neuropsychiatric Evaluation of Mr. Girardi prepared by Nathan E. Lavid, M.D.; (2)
 a February 1, 2021 Neuropsychological Evaluation of Mr. Girardi prepared by
 Deborah Budding, PhD ; and (3) a capacity declaration of Dr. Lavid submitted in
 conservatorship proceedings in which Mr. Girardi’s brother, Robert Girardi, DDS,
 has been designated his temporary conservator. The experts’ credentials
 accompany their reports. I am in the process of marshaling medical records, and
 will provide copies of those.

 Mr. Girardi’s conservator is just beginning to assemble an appropriate medical
 team, and exploring management options regarding Mr. Girardi’s degenerative
 condition. Accordingly, it is likely we will have further information bearing on his
 mental health, as the process continues and Mr. Girardi is evaluated further.

 As reflected in the enclosed, Mr. Girardi suffers from dementia which causes him to
 have an insufficient present ability to consult with defense counsel with a
 reasonable degree of rational understanding. Because of his impairment, he has
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 neither a rational nor factual understanding of the events underlying the contempt
 judgment entered by Judge Durkin, nor any of the many pending proceedings,
 lawsuits and claims made against him and the (former) Girardi Keese firm.

 Dr. Lavid concludes that “Mr. Girardi suffers from dementia,” finding that “Mr.
 Girardi has almost no short-term memory. Thus, he is incapable of understanding
 his current legal situation, cannot retain essential information, cannot use such
 information to intelligently weigh the advantages and disadvantages of legal
 options, and cannot make knowing and intelligent decisions.” He states that “With
 reasonable medical certainty, Mr. Girardi’s dementia renders him incapable of
 understanding the nature and consequences of his current legal proceedings and
 assisting properly with his defense.” This impairment “is incurable, progressive
 and not recoverable.”

 Dr. Budding, too, identifies Mr. Girardi’s substantial mental deficits. Based on the
 tests that she conducted, she concluded that Mr. Girardi “presents with
 impairments in multiple areas of function,” which include “encoding new
 information.” His “basic orientation to place and time is impaired,” and his
 “learning and memory functions are impaired for both verbal and nonverbal
 material and information can get mixed up.” His “executive function skills are
 marked by difficulty following complex instructions, shifting his thinking,
 withholding impulses, contemplating consequences, and engaging in multi-step
 processing.” She concludes, that “he appears unable to effectively aid his counsel
 due to these multiple deficits.”

 I am providing this information to show why I believe Mr. Girardi would not meet
 the standard for competency to stand trial, specifically, whether the defendant “has
 sufficient present ability to consult with his lawyer with a reasonable degree of
 rational understanding - and whether he has a rational as well as factual
 understanding of the proceedings against him.” Dusky v. United States, 362 U.S.
 402 (1960) (per curiam), cited with approval in Indiana v. Edwards, 128 S. Ct. 2379,
 2383 (2008). It is being provided pursuant to Rule 408 of the Federal Rules of
 Evidence, and is within the privacy rules established by HIPAA, Pub. L. 104-191.
 Please limit any disclosure to others accordingly.

 As you may recall, indicia of Mr. Girardi’s serious mental impairment were
 sufficiently clear to me that I disclosed the issue to the Court during the contempt
 proceedings in the Lion Air matter, although Mr. Girardi had not yet been
 evaluated. As I informed the Court during December 14, 2020 proceedings, upon
 my initial engagement, it was apparent that Mr. Girardi was unable to assist me in
 preparing for the proceedings, or even to understand the nature of them,
 notwithstanding what appeared to be his good faith efforts to do so. Since then,
 the experts’ evaluations, information continually related by others, and my
 experiences with Mr. Girardi, all validate his mental incompetence.
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 Today, Mr. Girardi he does not even recall the Lion Air contempt proceedings.
 When reminded (as he periodically is), he expresses shock and dismay, asks
 questions reflecting his lack of comprehension, and then completely forgets the
 conversation such that the cycle begins afresh when he’s next told about what
 occurred. The same repetitive fact pattern occurs regarding all of the other recent
 and ongoing adverse legal, and personal, circumstances surrounding Mr. Girardi.

 Mr. Girardi is at a stage in his mental decline where he does not acknowledge his
 serious mental impairment. Dr. Lavid notes that “Mr. Girardi does not think he
 suffers from dementia,” and acknowledged that he “diagnosed with some memory
 problems,” but was “emphatic that he’s ‘more than competent’.” When Dr. Budding
 asked him about his current cognitive function, he insisted he is functioning well,
 stating “I’m maybe 80% of what I was before,” and acknowledging only “a little
 difficulty” at times with his train of thought. However, Mr. Girardi’s impairment
 was evident to both experts.

 Mr. Girardi’s lack of awareness regarding his own mental impairment makes it all
 the more apparent to those around him. He repetitively calls current and former
 counsel, never remembering he has done so multiple times on the same day, and
 each time with the same questions or agenda. He has repetitively called
 adversaries with fantastical offers to resolve problems he has just read about in the
 paper or been told about by a reporter. He repetitively calls former Girardi Keese
 employees - all of whom are long gone from the shuttered firm - with directives to
 perform various tasks incident to the jobs he mistakenly believes they still have at
 Girardi Keese. Even last week, Mr. Girardi was asking to be taken “to the office.”
 Following one recent occasion where he was (again) told that Girardi Keese is
 closed, he began enthusiastically planning a “new law firm,” clearly with no
 recollection that his State Bar license is suspended and he is facing disbarment.
 When reminded of recent adverse events, he repetitively expresses surprise and
 upset, and formulates an implausible plan to solve the problem, then does not
 retain the information once he has changed his focus to a different matter.

 As you will see in Dr. Lavid’s report, Mr. Girardi continues to think he is running a
 successful litigation firm that is having a great year. When Mr. Girardi met with
 Dr. Lavid on February 26, 2021, he described his typical day as working from 9-6
 and going to a professional function in the evening. However, most employees had
 quit working for Girardi Keese over two months earlier, and there had been no
 professional functions in Los Angeles for 11 months because of the pandemic. He
 also reported that he was running the firm, and it was doing extremely well and
 had 40-50 employees, including 15 attorneys. This was after Judge Durkin’s
 December 14, 2020 contempt ruling and order freezing all of the assets of Girardi
 Keese (and Mr. Girardi), and over a month after a bankruptcy trustee had taken
 control of Girardi Keese, and changed the locks on the firm doors. He had no
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 recollection of Judge Durkin’s referral to your office, expressed confusion about
 what my role is, and denied having any legal problems.

 Anecdotal reports from Mr. Girardi’s family, colleagues, friends and former staff
 vividly illustrate the extent of his impairment. For example, as reflected in Dr.
 Lavid’s report, Rick Kraemer, a friend and colleague of Mr. Girardi, describes how
 Mr. Girardi continues to think Girardi Keese remains open and he is going to work,
 does not recognize people he has known for a long time, believes that a favorite
 restaurant (which has been closed throughout the pandemic) is open, and
 confabulates by filling in his memory gaps with stories that are inconsistent with
 reality. Mr. Kraemer relates a recent incident in which Mr. Girardi left a medical
 appointment and tried to walk home (an impossibility given the great distance
 alone), evidently not remembering that his longtime housekeeper was waiting to
 take him home.

 A long-time friend of Mr. Girardi, prominent attorney Richard Marmaro, describes
 running into Mr. Girardi in federal court in Downtown Los Angeles in March, 2020.
 Mr. Girardi mistakenly believed they were in the nearby State courthouse, in which
 Mr. Girardi has appeared “hundreds if not thousands of times over the last 30
 years.” A friend of 45 years, and business partner, Dennis Fitzpatrick, describes
 repetitive calls with Mr. Girardi about a potential business venture where Mr.
 Girardi would not recall from one call to the next that they had already covered a
 matter – “he doesn’t have the faintest idea about any of the basic facts –
 information he used to know very well.”

 Former Girardi Keese employee Kim Cory describes Mr. Girardi’s decline over the
 past few years, marked by events such as an incident in which Mr. Girardi asked
 her who the woman was in a photo with him (answer: “Erika,” his own wife since
 2000), and how he would repetitively dictate the same letters or declarations, or ask
 for the same files, never recalling he had just completed the task.

 Mr. Girardi’s adult daughter Jennifer, who has not spent much time with him over
 the past 12 years, recently read media reports and initially thought “the whole
 memory loss issue was a horrible lame excuse for all of his shortcomings.” After
 that, she met with her father, and saw “first hand how far ‘gone’ my dad was.” She
 describes how Mr. Girardi expressed surprise when she told him that her brother is
 a lawyer, although her brother has practiced for 20 years and used to work for
 Girardi Keese. [Note that Mr. Girardi told Dr. Budding that his son is “studying to
 be an attorney.”] Jennifer also describes a recent incident where she arrived at Mr.
 Girardi’s home and he tried to introduce her to two guests sitting with him, but
 could not recall her name. His own daughter’s name.
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 Mr. Girardi’s longtime housekeeper, Isabelle Mancilla, like Mr. Kraemer, dates Mr.
 Girardi’s obvious decline to a 2017 car accident in which he was unconscious for
 several house and suffered a concussion. Since then, he began engaging in odd
 behavior like collecting foam cups. Over the past year, Mr. Girardi’s memory has
 become much worse. He keeps on asking her the same questions, and gets
 confused about simple events like forgetting that he just had dinner with his
 daughter the evening before.

 The preceding are just a thumbnail of the many events indicating the extent of Mr.
 Girardi’s mental decline.

 On April 3, 2021, I met with Mr. Girardi for a few hours to confirm my impressions
 of his impairment from our earlier meetings, and in subsequent phone calls. He
 was gracious and articulate, but has virtually no recollection of recent events or his
 current circumstances. He did not recall previously meeting with me (at some
 length) on two prior occasions, insofar as he greeted me by stating, “It’s nice to meet
 you.” He had no recollection of the multiple times we have spoken since then.

 When we began to discuss Girardi Keese, it was clear he had no present knowledge
 of recent events, and indeed is largely living in a made-up world. He believes
 Girardi Keese is still operating and is “having a very good year,” has 101 active
 cases and “20 in the pipeline,” and has 43 employees on its payroll, including
 eighteen lawyers. He himself works 5-6 days a week.

 Mr. Girardi could not accurately identify anyone among the figures in various
 recent legal matters. For example, even though they have met in person and
 spoken by phone, Mr. Girardi believes attorney Leonard Pena (who represents his
 conservator in pending bankruptcy proceedings against Tom Girardi) is “an
 attorney with my firm.” He did not recognize the name of Elise Miller, the trustee
 for Girardi Keese in the pending bankruptcy proceedings. He thinks he once had a
 “casual meeting” with Dr. Budding, but does not recall what it was about, or where
 they met (they met twice, for three hours each time, while she administered
 psychological tests, at her offices, for purposes of the enclosed report). He could not
 identify who Dr. Lavid is, but eventually said he thinks that he was referred to Dr.
 Lavid by his doctor (incorrect) for “memory issues.” The appointment was “sort
 and just a general work up” (they met for over three hours while Dr. Lavid
 evaluated his mental status for purposes of the enclosed report).

 He could not describe at all what happened during the telephonic contempt
 proceedings in the N.D. Illinois (“Was I there?”), including even the case to which
 they pertained, nor the Court’s ruling. He could not identify the judge. When I
 asked who “Jay Edelson” is, all he knew was that Edelson is “someone who refers
 cases.” I told him that I was going to be preparing a presentation for your office
 arising from the criminal referral to your Office that the Court made after its
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 contempt finding in the Lion Air matter. It was impossible to have any meaningful
 dialog with him. He did not recall there had been a criminal referral, even though
 he was on the telephonic hearing call, and we have discussed the issue many times.
 He appeared shocked and confused to hear that all of Girardi Keese’s clients in the
 Lion Air matter were not paid the full amounts owed – as if he were hearing it for
 the very first time. He had no recollection of previously being told this - many
 times – or having read it – virtually daily - in the media. All I need to do is get the
 firm’s accounting records, which will show “everyone was paid.” He had no
 recollection of the accounting provided to the Court in the contempt proceedings.

 In sum, my impressions from the meeting more than validated the experts’
 conclusions. It was readily apparent Mr. Girardi would be unable to assist me in
 any material way in preparing to defend any criminal charges, or at trial. He has
 only a fleeting understanding of any new information (even information repeatedly
 provided to him), and cannot retain the information long enough to have a rational
 or factual understanding of recent or ongoing events and issues. Even when he
 thinks he recalls or understands a matter, he is an unreliable narrator because he
 often relates inaccurate information. He clearly cannot help me understand what
 transpired with Girardi Keese’s finances such that the firm failed to pay all former
 Lion Air clients because he does not even realize that the former clients were not
 fully paid, and that the firm is in bankruptcy and was shuttered months ago. He
 would have no ability to make rational decisions (like whether to testify, or enter a
 plea) because he cannot retain information long enough to evaluate it in any
 meaningful way. Nor could he honor any oath to tell the truth because he is
 unable to form a rational understanding of recent events, and at times relates
 imaginary information in place of his memory deficits.

 I will forward medical records shortly, and it is likely that further information
 about Mr. Girardi’s mental status will be available over time as his condition is
 evaluated more fully. Meanwhile, please let me know if there is additional
 information that would be useful.

 Finally, Mr. Girardi’s conservator has been unable to locate his passport, but will
 keep trying. Mr. Girardi himself believes his “assistant has it,” and it is “at the
 office.” One option could be having Mr. Girardi’s conservator submit a lost
 passport statement (DS-64), although the form does not appear to contemplate
 submission by someone other than the actual passport holder. Meanwhile, any
 risk of flight appears minimal. Mr. Girardi does not recognize the adverse
 circumstances he faces, is 81 years old and now heavily dependent on family
 members for daily care, has no access to funds, does not drive, and has now
 developed what I understand is a serious eye condition that requires continual
 treatment.
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 Thank you for considering this information. I look forward to speaking further.

                                Best regards,

                                LAW OFFICES OF EVAN A. JENNESS

                                Evan A. Jenness
                                Evan A. Jenness




 Cc: Michael Monaco, Esq.
     Ryan Mitsos, Esq.
     (w/ encls.)
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                     EXHIBIT 14
Electronically FILED by Superior Court of California, County of Los Angeles 9/24/2021 8:27 AM Sherri R. Carter, Executive Officer/Clerk, By Thu Nguyen, Deputy Clerk
              Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 77 of 184 Page ID #:2123
        NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY OR PARTY WITHOUT        STATE BAR NUMBER                          Reserved for Clerk s File Stamp
        ATTORNEY:
                                                                                233876/307072
        Nicholas J. Van Brunt
        Meghan K. McCormick
        Sheppard Mullin Richter & Hampton LLP
        1901 Avenue of the Stars, Suite 1600
        Los Angeles, California 90067
        ATTORNEY FOR (Name): Robert J. Girardi
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
           Name of Court:        Superior Court of California, County of Los Angeles
            Branch Name:         Central District
          Street Address:        111 N. Hill St.
       City and Zip Code:        Los Angeles, CA 90012
        In the Matter of:
        Conservatorship of Thomas V. Girardi
                                                                                                                 CASE NUMBER
                                 CONSERVATORSHIP CARE PLAN                                                       21STPB00413


                  Robert J. Girardi         , the conservator of the person/estate of Thomas V. Girardi
                  hereby submits the conservator’s General Plan in compliance with local court rules.

                     1. Conservatee’s current residence address:*
                          a. Type of facility (i.e. home, skilled nursing, hospital, etc.) Skilled Nursing Facility
                                                                                              August 9, 2021-
                          b. How long has the conservatee been in the present residence? present

                            c.     Do you anticipate making any changes in the conservatee’s residence in the next
                                   year?   X       No            Yes (explain)

                            d.     What is the plan to return the conservatee to his/her personal residence if not now
                                                    There is no plan to return conservatee Thomas V. Girardi
                                   living at home? (“Tom”) to his home.

                            e.    If there are no plans to return the conservatee to his/her personal residence in the
                                  foreseeable future, explain the limitations or restrictions for not doing so?
                                 Tom’s health and finances require that he be at a skilled nursing facility.

                     2. Current level of care (mark all that apply):
                             requires total care                                                has feeding tube
                      X      requires assistance with care                                      has a catheter
                             able to do own care                                                uses wheelchair/walker
                      X      ambulatory                                                         urinary/bowel incontinence
                    Other relevant information
                    If residing in a facility or group home, attach copy of the facility’s care plan: The Conservator
                    was not provided with a care plan.
                    If client of a regional center, identify regional center and social worker and telephone
                    number:

                  *Please note that the Probate Investigator’s Office must be notified of any change of
                  address by using the Notification to Court of Address form number PRO 003.



                  PRO-023                                       Conservatorship Care Plan                        PC Section 2352.5 (c)
                  ADMIN Approved (Rev. 07/08)                                Page 1 of 4                                                    American LegalNet, Inc.
                                                                                                                                            www FormsWorkflow.com
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   CONSERVATORSHIP OF (Name):                                                  CASE NUMBER:
   Thomas V. Girardi                                                           21STPB00413
                                                             CONSERVATEE


         b. OTHER EXPENSES
                 TAXES                   Current                      Estimated Amount
              Income Tax           $                         0                       0
              Property             $                         0                       0
              Payroll              $                         0                       0

         c. INSURANCE
                                   Coverage Amount                   Estimated Premiums
            Homeowner              $   See Attachment 7(c)
            Renters                $   See Attachment 7(c)
            Automobile             $   See Attachment 7(c)
            Worker’s Comp          $   See Attachment 7(c)
            Health                 $   See Attachment 7(c)
            Life                   $   See Attachment 7(c)
                                                       The Conservator is informed and
                                                       believes that Tom does not have any
 8. What are the contents of any safety deposit boxes? safety deposit boxes.
 9. Does the conservatee receive Medi-Cal benefits?
           X     No                     Yes                      $                share of cost

 10. Do you expect to sell any of the conservatee’s real or personal property in the next
     year?                   No              X Yes

      If yes, what will be sold and explain reasons: Tom is the subject of an involuntary
 bankruptcy proceeding (U.S. Bankruptcy Court Case Nos. 20-bk-21020-BR and 20-bk-21022-
 BR (C.D. Cal) and a marriage dissolution proceeding (LASC Case No. 20STFL11050). As
 such, he does not have any control over his assets, but to the extent they exist, they will likely be
 liquidated.

 11. Does the conservatee own a home in which s/he does not live?
          If so, is it rented?            Amount of rent:         $
          If not rented, explain why:   Tom’s home is currently for sale as a part of the
 ongoing bankruptcy proceedings.

 12. If the Conservatee’s monthly expenses are greater than his/her income explain how the
      shortfall will be met: The Conservator is paying Tom’s expenses.

 13. Does the conservatee have a trust or is s/he a beneficiary of a trust and entitled to
 receive income from the trust? If so, please provide an attachment with the name of the
 trust, the name(s) of the trustee(s) and their contact information, and if applicable court
 case number for the trust: No.

 PRO-023                               Conservatorship Care Plan               PC Section 2352.5 (c)
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                                    Attachment 7(c):
[7(c): INSURANCE]

The conservator is informed and believes that Tom does not have any insurance of any
kind, with the exception of the Medicare coverage in which the Conservator recently
enrolled Tom.

                                     Attachment 14

[14. Do you anticipate any unusual activities related to the management of the
conservatee’s estate during the next year?]

Tom is subject to an involuntary bankruptcy proceeding (U.S. Bankruptcy Court Case Nos.
20-bk-21020-BR and 20-bk-21022-BR (C.D. Cal.) and a marriage dissolution proceeding
(LASC Case No. 20STFL11050). These proceedings could impact the management of
Tom’s estate.




 PRO-023                          Conservatorship Care Plan        PC Section 2352.5 (c)
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                                              UNCLASSIFIED//FOUO

Continuation of FD-302 of (U)   Interview of Kim Cory                  , On   07/27/2023   , Page   2 of 3




        litigation lenders asking for more time to pay loans or requesting
        additional funding for the firm. Securing additional lending for the firm
        was something GIRARDI was handling during that time. Also during the COVID-
        19 pandemic, GIRARDI was upset with his employees because they were not
        coming into the office and GIRARDI would send memos to his staff to return
        to the office.

        AGENT NOTE: At this point in the interview, CORY was shown a memo which will
        be maintained in a digital 1A folder attached to this document.

        2020.09.28 TVG Memo

           CORY’s last day with GK was in December of 2020. Sometime later, CORY was
        approached by JACK GIRARDI (JACK) who was attempting to put GIRARDI’s assets
        in a conservatorship. JACK asked CORY to write a letter highlighting certain
        issues with GIRARDI’s cognitive abilities. CORY understood that JACK wanted
        a persuasive letter to establish the conservatorship. JACK asked CORY to
        speak with the other secretaries to see if they would write persuasive
        letters as well. When asked about her claims in the letter regarding
        GIRARDI’s memory issues, CORY stated that during this time period, GIRARDI
        had a lot going on, including many cases and many phone calls. When asked
        about GIRARDI’s ability to remember people’s names, CORY stated that since
        she has known GIRARDI, GIRARDI often struggled with people’s names,
        including staff and attorneys that he did not regularly work with.

           After CORY left GK, she and other GK staff visited GIRARDI on at least
        two occasions. The first visit occurred on April 3, 2021. CORY brought her
        daughter and went to the house with GK employee SHAWNA MILLS. GIRARDI gave
        them a tour of the house and told them that someone had broken into his
        residence a few months before. GIRARDI showed CORY where the intruder had
        smashed a window. When the incident occurred, GIRARDI saw the person in his
        house and told CORY he was thin and had blonde hair. GIRARDI told CORY that
        he initially thought the person was CHRIS AUMAIS (AUMAIS) due to that
        individual having the same build and hair color as AUMAIS. GIRARDI also told
        CORY that his safe had been opened. A few months later, CORY and a few other
        secretaries visited GIRARDI at his home in Pasadena. During the visit, the
        group had lunch and GIRARDI served CORY and the other secretaries bottles of
        wine. GIRARDI retrieved the bottles of wine and opened them for the group.

           When asked if CORY ever saw GIRARDI wearing a burgundy sweater, CORY
        stated that she had never seen GIRARDI wearing a Burgundy sweater. GIRARDI
        had sometimes worn a blue sweater. Also, when CORY was asked about GIRARDI
        not recognizing a photo of his wife ERIKA JAYNE (JAYNE), CORY recalled that


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Continuation of FD-302 of (U)   Interview of Kim Cory                  , On   07/27/2023   , Page   3 of 3




        the photograph was taken approximately 20 to 25 years ago and showed JAYNE
        without make up and before having plastic surgery.

           At no time did CORY ever tell GIRARDI’s doctors, family members, or the
        senior attorneys at GK that GIRARDI was mentally unfit to be a lawyer,
        manage client monies, or run the law firm.

        Attached to this document are interview notes and the memo shown to CORY,
        which will be maintained in a digital 1A folder.




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                   EXHIBIT 17
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                            DEPARTMENT OF THE TREASURY
                               Internal Revenue Service
                                 Criminal Investigation

                               Memorandum of Interview

Investigation #:                             Location:     Via WebEx
Investigation Name:    THOMAS GIRARDI
Date:                  July 25, 2023
Time:                  Approximately 10:00
                       AM – 11:30 AM
Participant(s):        Alan Zimmerman, Witness
                       Chris Frost, Counsel
                       John Madden, Counsel
                       Stephanie Boone, Counsel
                       Ali Moghaddas, AUSA
                       Ryan Roberson, Special Agent

   On the above date and approximate time, Special Agent Ryan Roberson (SA
   Roberson) with IRS Criminal Investigation (IRS-CI) along with Assistant United States
   Attorney Ali Moghaddas (AUSA Moghaddas) met with Alan Zimmerman (Zimmerman)
   and counsel Chris Frost (Frost), John Madden, and Stephanie Boone via WebEx.
   Zimmerman voluntarily provided the following information:

      1. Zimmerman was the Chief Executive Officer at Law Finance Group (LFG), a
         litigation lender that loaned funds to the Girardi Keese (GK) law firm.
         Zimmerman is an attorney himself who specialized in business law, before
         transitioning to litigation lending.

      2. Zimmerman met Tom Girardi (Girardi) through Skip Keesal (Keesal), a fellow
         attorney and business associate of Zimmerman’s. Keesal thought Zimmerman
         and Girardi may be able to do some business together and introduced them in
         approximately 2015. Girardi and Zimmerman had lunch together at Morton’s,
         where they Discussed LFG and their backgrounds. Girardi eventually called and
         asked if LFG wanted to do some business with GK. After doing its due
         diligence, LFG eventually loaned approximately $12,000,000.00 to GK. LFG
         used GK’s future cases as collateral. One case used as collateral was the
         Carson Shell case. LFG was supposed to be paid from the attorney’s fees
         earned by GK, after the Shell case settlement funds were received by GK.

      3. Over the years, Zimmerman met with Girardi several times at GK’s office and
         for lunches. Zimmerman eventually got to know GK attorney’s Bob Finnerty
         (Finnerty) and Chris Aumais (Aumais). Zimmerman went to lunch with them,
         and saw them around at various functions.

      4. At one function, Zimmerman ran into Finnerty. Over the course of conversation,


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        Zimmerman asked when the funds from the Shell case were going to come in.
        Finnerty seemed surprised by Zimmerman’s question and implied that GK had
        already received funds from the Shell settlement. Zimmerman recalled Finnerty
        saying something to effect of, “Oh you haven’t gotten paid, you should talk to
        Tom.” This conversation took place in early 2018, or possible early 2019.
        Zimmerman elaborated that the emails in the production provided by LFG
        should provide an accurate timeline.

     5. Zimmerman’s general impression was that Finnerty and Aumais did not want to
        get involved in the business operations of GK.

     6. After his interaction with Finnerty regarding the Shell settlement funds being
        received by GK, Zimmerman reached out to Girardi to inquire about the status
        of GK paying back LFG. Girardi told Zimmerman that he had made a mistake
        and didn’t realize GK needed to pay LFG back right away. Subsequently,
        Zimmerman went to Los Angeles on several occasions to see Girardi regarding
        LFG being paid by GK. Girardi made excuses and gave Zimmerman a “load of
        garbage” as to why GK was not paying LFG.

     7. During one of Zimmerman’s meetings with Girardi, Shirleen Fujimoto
        (Fujimoto), Girardi’s assistant, ran all the GK outstanding case costs at the
        request of Girardi. The outstanding case costs paid by GK added up to
        approximately $85 - $90 Million. Zimmerman was surprised by such a large
        figure. As time went on, LFG was still not paid by GK. Sometime in the summer
        of 2018 LFG and GK eventually reached a Forbearance Agreement, which was
        signed by Girardi. Despite signing the Forbearance Agreement, GK still failed to
        make any payments. In November or December of 2018, Zimmerman reached
        out to an attorney to start the legal process of LFG obtaining the payments due
        from GK.

     8. In Spring of 2019, mediation was held between GK and LFG, and a settlement
        was reached: GK was to pay approximately $16 Million to LFG. GK paid $10
        Million in June of 2019, but failed to pay the remaining $6 Million therefore LFG
        obtained a judgement against GK and began levying GK’s bank accounts.
        Shortly after this, LFG received $6 Million from Girardi’s personal Morgan
        Stanley account in the Fall of 2019.

     9. Frost was retained by LFG to assist LFG in recovering the funds due from GK.
        Aumais was Frost’s main point of contact at GK. In the Summer of 2019,
        Aumais helped provide GK’s bank records to Frost. Aumais told Frost that he
        had provided all the information for all GK bank accounts, and that none of
        those accounts had enough money in them to pay the full $6 Million due to
        LFG. The only GK account with significant funds to pay LFG, was GK’s payroll
        account. Aumais explained if GK paid LFG from the payroll account, then GK
        could not make payroll. Despite this understanding, LFG and Frost began the
        process of levying GK’s bank accounts, which were ultimately levied in October
        of 2019.


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     10. Shortly after levying GK’s bank accounts, LFG was paid the $6 Million due to
         them, from Girardi personal Morgan Stanley account in the Fall of 2019. Aumais
         helped to facilitate this payment from Girardi’s personal Morgan Stanley
         account. Aumais was aware that Girardi, on behalf of GK, could access
         Girardi’s personal funds at Morgan Stanley. Morgan Stanley had liens on
         Girardi’s funds, but LFG was able to work with Morgan Stanley to ensure LFG
         was paid.

     11. Aumais never discussed the GK’s client trust bank accounts with Zimmerman or
         Frost. Each time Frost brought up the topic of GK’s client trust bank accounts,
         Aumais would change the topic. Frost speculated that Aumais changed the
         topic away from GK’s client trust bank accounts on purpose.

     12. Originally, when LFG began pursuing the collection of the additional $6 Million
         in the Summer of 2019, Chris Good (Good) was the attorney who represented
         Girardi and GK in their objection to lawsuit filed by LFG. Frost believes Good is
         a former GK associate. Good and Aumais ended up forming their own law firm
         with a third attorney sometime after GK went into bankruptcy in December of
         2020.

     13. After Good stopped representing Girardi and GK, Aumais became Frost’s GK
         point of contact. Frost believes Aumais was acting on behalf of Girardi. Aumais
         told Frost that all final decisions regarding the payment to LFG needed to be
         made by Girardi.

     14. Frost and Zimmerman were under the impression Aumais was not happy at GK.
         Aumais told them he was not going to be paid the amount due to him for the
         cases he worked because GK did not have the funds to pay him. Zimmerman
         found it unusual that Aumais worked cases at GK and was also the primary
         point of contact for GK in the LFG and GK negotiations. At one point, Aumais
         said he was thinking about leaving GK.

  Exhibit 1, SA Roberson referenced the email dated December 17, 2017 from Ajit Singh
  to Finnerty with Girardi and Aumais CCed. Zimmerman provided the following
  information:

     15. Zimmerman recalled interacting with Finnerty and Aumais from time to time. Ajit
         Singh (Singh) was LFG’s sales and marketing guy. Singh and Aumais
         developed a business relationship with each other. They may have been talking
         about other GK cases GK may want financed.

  Exhibit 2, SA Roberson referenced the email dated June 25, 2018 from Zimmerman to
  Girardi re GK key lawyers. Zimmerman provided the following information:

     16. Zimmerman knew that Girardi owned the law firm and thought maybe Girardi
         should have a succession plan. Zimmerman suggested the senior attorney’s at
         GK get involved in the succession plan. This was extent of Zimmerman’s input.
         Girardi never brought up Zimmerman’s suggestion after this email.


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  Exhibit 3, SA Roberson referenced the email dated July 3, 2019, from Zimmerman to
  Girardi with Aumais and David Lira (Lira) CCed. Zimmerman provided the following
  information:

     17. Aumais was trying to resolve the judgement LFG had against GK. Zimmerman
         is not sure why Lira was CCed. Zimmerman met Lira once at a football party but
         did not interact with him. Frost did not interact with Lira.

  Girardi’s Mental State

     18. Zimmerman last spoke with Girardi in the late Summer of 2019. Over the course
         of their relationship, Zimmerman never had any odd interactions or suspicions,
         where he thought that Girardi was operating at less than 100% mentally.
         Instead, Zimmerman found Girardi to always be very sharp and cunning.
         Zimmerman has some friends who are getting early dementia, and Zimmerman
         never saw any similarities between his friends getting early dementia and
         Girardi.

     19. Zimmerman did not recognize any difference in Girardi’s mental state from 2015
         through 2019. Zimmerman had many interactions with Girardi before and after,
         Girardi’s car accident in 2017. Zimmerman recalled having lunch at Morton’s
         with Girardi right after Girardi’s car accident in 2017. Girardi reserved a back
         room at Morton’s for lunch, and came into the room in a wheelchair. They talked
         and had lunch while Girardi was in his wheelchair. Girardi told Zimmerman
         about the accident, and Zimmerman never saw any suggestion at all that
         Girardi had any mental impairments. Girardi told Zimmerman he was in the
         wheelchair because he injured his leg in the car accident. Girardi’s car slid
         down a hill and was stopped a tree. After being stopped by a tree, Girardi was
         dragged back up the hill. When Zimmerman saw Girardi again, he was out of
         the wheelchair and had recovered from his leg injury. Zimmerman had several
         subsequent meetings after Girardi’s accident, and Girardi never showed signs
         of mental impairment.

     20. Frost dealt directly with Girardi on several occasions. Frost never recalled
         Girardi showing any signs of mental impairment whatsoever. In one instance,
         Girardi showed up to a court proceeding in front of Judge Becklaw who said the
         matter between GK and LFG seemed “cut and dry.” GK was given seven days
         to mediate the matter with LFG. In the mediation, Frost observed some real
         strategy by Girardi during the party’s interactions. LFG and GK were close to a
         deal, but then Girardi said, “F off and walked out.” Frost believed this to be a
         deliberate strategic decision that would not have been made by someone with a
         mental impairment. This mediation took place sometime in second half of 2019.

     21. When Frost first heard about Girardi being incompetent, Frost thought to
         himself “that’s convenient.”

     22. Regarding the $6 Million payoff from Girardi’s Morgan Stanley account, Girardi


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        was aware his personal funds were being used. Aumais helped to facilitate the
        transaction, but Girardi had the ultimate say in what took place.

     23. At one point, Joe DiNardo (DiNardo) of Counsel Financial AKA California
         Attorney Lender, reached out to Zimmerman and said DiNardo’s company was
         attempting to provide funding to GK. DiNardo then asked Zimmerman to hold
         off on collecting from GK. Zimmerman said no. LFG would not want to “get in
         bed” with DiNardo.

  The interview was concluded at approximately 11:30 AM.




                                                  Ryan Roberson
                                                  Special Agent




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                   EXHIBIT 25
                   Digital Recording
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                   EXHIBIT 26
                   Digital Recording
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                     EXHIBIT 27
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    A systematic review and meta-analysis of the Test
    of Memory Malingering in adults: Two decades of
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         A systematic review and meta-analysis of the Test of
         Memory Malingering in adults: Two decades
         of deception detection
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             ABSTRACT                                                                           ARTICLE HISTORY
             Objective: The present study, adhering to Preferred Reporting                      Received 11 February 2019
             Items for Systematic review and Meta-Analyses (PRISMA)                             Accepted 21 June 2019
             guidelines, is the first systematic review and meta-analysis of the                Published online 30 July
             Test of Memory Malingering (TOMM) to examine traditional and                       2019
             alternative cutoffs across Trial 1, Trial 2, and Retention.
                                                                                                KEYWORDS
             Method: Search criteria identified 539 articles published from                     Test of Memory
             1997 to 2017. After application of selection criteria, 60 articles                 Malingering; TOMM;
             were retained for meta-analysis. Classification accuracy statistics                systematic review;
             were calculated using fixed- and random-effects models.                            meta-analysis
             Results: For Trial 1, a cutoff of <42 was found to result in the
             highest sensitivity value (0.59–0.70) when maintaining specificity
             at 0.90. Traditional cutoffs for Trial 2 and Retention were highly
             specific (0.96–0.98) and moderately sensitive (0.46–0.56) when
             considering all available studies and only neurocognitive/psychi-
             atric samples classified by known-groups design. For both trials,
             a modified cutoff of <49 allowed for improved sensitivity
             (0.59–0.70) while maintaining adequate specificity (0.91–0.97).
             A supplementary review revealed that traditional TOMM cutoffs
             produced >0.90 specificity across most samples of examinees for
             whom English is not the primary language, but well-below
             acceptable levels in individuals with dementia.
             Conclusions: The TOMM is highly specific when interpreted per
             traditional cutoffs. In individuals not suspected of significant
             impairment, findings indicate that a less conservative TOMM Trial
             2 or Retention cutoff of <49 can be interpreted as invalid, espe-
             cially in settings associated with higher base rates of invalidity
             and, thus, higher positive predictive power. A cutoff of <42 on
             Trial 1 can also be interpreted as invalid in most settings.




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         Introduction
         Performance validity test (PVT) research has rapidly and substantially developed over
         the past two and a half decades (Martin, Schroeder, & Odland, 2015). As a result, it is
         now well recognized that PVTs are essential to neuropsychological evaluations (Bush
         et al., 2005; Heilbronner et al., 2009; Institute of Medicine, 2015; Martin et al., 2015;
         Schroeder, Martin, & Odland, 2016). The Test of Memory Malingering (TOMM), a stand-
         alone PVT published in 1996, has become the most commonly utilized test of its kind,
         with nearly 80% of surveyed neuropsychologists purporting to use it frequently
         (Martin et al., 2015).
            An appealing aspect of the TOMM is its large and diverse research base, which
         contains studies spanning a range of populations, settings, and research methods,
         as well as investigations of both traditional and newly devised TOMM indices. While
         these studies have been essential in validating the utility of the TOMM, the vast
         majority of the TOMM literature base is comprised of single-sample primary studies.
         Given that primary studies often involve small sample sizes, utilize varying metho-
         dologies, and can be influenced by sample-specific factors, primary studies cannot
         represent the total body of evidence on a topic (Guyatt, Rennie, Meade, & Cook,
         2015). Consequently, evidence-based medicine (EBM) guidelines often afford greater
         levels of confidence to articles combining data from multiple studies, especially
         when such studies are systematically collected (i.e. systematic review) and/or
         when the data are statistically aggregated (i.e. meta-analysis; Chelune, 2017;
         Guyatt et al., 2015; Miller, 2017).
            A small proportion of the primary studies on the TOMM have been previously sub-
         jected to a meta-analysis within the context of a broad study on performance validity
         testing (Sollman & Berry, 2011). In the meta-analysis, Sollman and Berry included 21
         articles related to the TOMM, which were published either in professional journals or
         as student theses/dissertations. The samples included participants subjected to control
         simulator designs as well as participants whose validity status was determined accord-
         ing to known-groups designs. Study effect sizes were noted to vary significantly
         as a factor of research design, and simulator studies involving patients yielded signifi-
         cantly higher effect sizes than known-groups studies involving patients. Nonetheless,
         all studies were aggregated, and it was found that a TOMM Trial 2 score of <45
         resulted in sensitivity of 0.65 and specificity of 0.94.
            Sollman and Berry (2011) provided valuable data on PVT accuracy, overall, and
         TOMM Trial 2 performance, specifically. At the same time, the study did not document
         Trial 2 classification accuracy data when solely utilized within the context of clinical
         patients, and the authors refrained from examining classification accuracy of the
         Retention trial. Additionally, the study did not provide data on previously proposed
         alternative TOMM cutoffs (e.g. Greve et al., 2006a) or findings for several alternative
         TOMM indicators that have since been subject to empirical research. Alternative
         indicators include Trial 1 performance, the Albany Inconsistency Index (ACI; Gunner,
         Miele, Lynch, & McCaffrey, 2012), the Invalid Forgetting Frequency Index (IFFI; Buddin
         et al., 2014), and errors on the first 10 items of Trial 1 (TOMMe10; Denning, 2012).
         While the literature concerning ACI, IFFI, and TOMMe10 is still accumulating, a number
         of primary studies have investigated the classification accuracy of TOMM Trial 1.
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             Regarding Trial 1 performance, Denning (2012) reviewed 18 studies, comprised of
         24 samples. Given the lack of an established recommended interpretive cutoff, Trial 1
         classification accuracy data were reported according to a wide range of possible cut-
         offs (i.e. 34 to 44), which prohibited the aggregation of data at any specific cutoff indi-
         vidually. To reconcile this issue, Denning averaged both the cutoff points and
         accuracy statistics, reporting weighted mean sensitivity and specificity values of 0.77
         and 0.92, respectively, at an averaged cutoff value of <41. While the study contributed
         notably to the literature by demonstrating the utility of Trial 1 as a PVT, determination
         of an “optimal” cutoff and its resultant classification accuracy is limited given that the
         data were averaged across multiple and widely ranging cutoff values.
             The purpose of the current study was to systematically review the published TOMM
         literature for classification accuracy data on Trial 1, Trial 2, Retention, and combined
         Trial 2 and Retention to provide examiners administrating the TOMM guidance in its
         interpretation. In line with this objective, the current study was conducted with several
         goals in mind. First, given that previous efforts to aggregate Trial 1 data (Denning,
         2012) were conducted using averaged scores across various cutoff points, the current
         study sought to examine classification accuracy data individually at each Trial 1 cutoff
         to best determine a clinically appropriate cutoff. Second, the study sought to update
         Trial 2 aggregated classification accuracy data reported by Sollman and Berry (2011)
         by analyzing a literature base that has since expanded considerably. Third, the study
         sought to aggregate classification accuracy data from studies examining the Retention
         trial, individually, and Trial 2 and Retention, collectively; as such data have not yet
         been subject to meta-analysis. Fourth, in addition to examining Trial 2 and Retention
         classification accuracy at traditionally recommended cutoff points, the current study
         sought to examine specificity and sensitivity at alternative cutoffs to determine
         whether less conservative cutoffs might be appropriately applied in clinical practice.
         Fifth, given the potential that classification accuracy might differ according to study
         design (e.g. simulator/control versus known groups design) and/or diagnostic popula-
         tion, the current study sought to examine TOMM performance across discrete sub-
         groups of examinees. Finally, given that prior literature has recommended caution in
         interpreting TOMM performance in individuals evaluated for dementia and for whom
         English is not the primary language (Teichner & Wagner, 2004; Nijdam-Jones, Rivera,
         Rosenfeld, & Arango-Lasprilla, 2017), a review of test accuracy in these populations is
         also reported.


         Method
         Study methodology was designed and executed to adhere to Preferred Reporting
         Items for Systematic review and Meta-Analyses (PRISMA) guidelines. This study was
         not registered and is not an update to a prior systematic review or meta-analysis of
         the TOMM. Eligibility criteria were established a priori. Studies allowing for the examin-
         ation of classification accuracy of the TOMM, either in the form of sensitivity/specificity
         data or frequencies of individuals failing or passing the TOMM, were initially included.
         Studies were then excluded if they 1) were not published in a peer-reviewed journal,
         2) examined only pediatric samples, 3) classified the validity status of clinical or
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         forensic examinees solely based on the presence or absence of external incentive, or
         4) examined clinical or forensic patients and did not provide criteria for determining
         valid performance external to the TOMM (e.g. Slick, Sherman, and Iverson’s (1999)
         criteria, additional PVTs, known groups, expert consensus).
             Studies were excluded for lack of validity status criterion external to the TOMM given
         that such studies do not provide an accurate means for calculating sensitivity or specificity.
         Studies falling into this category include those utilizing differential prevalence designs,
         which seek to examine the prevalence of a phenomenon (e.g. failing the TOMM) without
         interpreting the meaning of the phenomenon (e.g. true invalid performance) by compar-
         ing its occurrence to that of an external indicator. Without comparing TOMM performance
         to an external criterion, it would be unknown if failing or passing the TOMM occurred in
         the context of valid or invalid performance given the likely mixed validity status of the
         sample. Such an approach would be expected to increase false positive and negative rates,
         diluting the reported sensitivity and specificity values below their true levels.
             To eliminate redundancy within included studies, samples were excluded if they
         overlapped with other included samples, as indicated by the respective study authors.
         Samples comprised of individuals with dementia were excluded from primary analyses,
         given that PVT specificity and cutoff values identified in non-dementia samples typic-
         ally do not generalize to individuals with dementia (Boone, 2018; Dean, Victor, Boone,
         Philpott, & Hess, 2009; McGuire, Crawford, & Evans, 2019; Schroeder, Twumasi-Ankrah,
         Baade, & Marshall, 2012). Additionally, samples comprised of individuals for whom
         English is not the primary language were excluded from primary analyses, as some
         authors have expressed concern regarding application of traditional TOMM cutoffs
         across languages and cultures (Nijdam-Jones et al., 2017). Given that both samples of
         individuals with dementia and samples of individuals for whom English is not the pri-
         mary language might be expected to vary from samples that are English speaking and
         absent of dementia, and given that significant heterogeneity can obscure interpret-
         ation of aggregated findings, these samples were excluded from meta-analysis. As
         findings in individuals with dementia and across language and culture are of both
         interest and importance, however, they were included in a supplementary review. Of
         note, unlike studies retained for meta-analysis, studies involving participants with
         dementia and for whom English is the second language were not excluded on the
         basis of absence of an external criterion, given that the vast majority of these studies
         lacked such methods for classifying participants.
             Sample population was not used as an original selection criterion; Clinical, forensic,
         and research samples of both adults and children were included in the initial search.
         A search of both PsycINFO (EBSCO) and PubMED was conducted in January 2018, lim-
         ited by including only peer-reviewed journal articles published from 1997 (correspond-
         ing to the first peer-reviewed journal article pertaining to the TOMM) through 2017
         (final year prior to the search). Of note, in using these restrictions, some articles pub-
         lished in 2018 were also identified due to an ahead of print, online publication year of
         2017 (only one such article met all other selection criteria and was therefore included
         in the study results). PsychINFO search criteria were: [(Title) “test of memory
         malingering” OR (Abstract) “test of memory malingering” OR (Keyword) “test of mem-
         ory malingering” OR (Title) “TOMM” OR (Abstract) “TOMM” OR (Keyword) “TOMM”].
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            The titles and abstracts of studies identified by the initial search were screened by
         current authors PM and HM, and articles not related to the TOMM (e.g. articles
         addressing the gene, TOMM40) and articles not written in English were excluded. Full-
         text copies of the articles were then distributed across the following dyads within the
         authorship group: HM/PM, AB/PM, DO/PM, and NE/RS. Both members of the dyad-
         reviewed articles, and those articles not meeting eligibility criteria were excluded from
         further analyses. Classification accuracy data (i.e. sensitivity, specificity, false positives,
         false negatives, true positives, and true negatives), sample characteristics, and compari-
         son methods used as external criterion (e.g. simulator vs. control) were extracted by
         one member of the dyad and confirmed by the other member. Additional verification
         of data extraction accuracy was then completed: RS re-examined the data extracted
         by dyads including PM, and PM re-examined the data extracted by dyads including
         RS. In the event of a discrepancy, the data were coded separately and the discrepancy
         rectified via discussion of the authors.
            Risk of bias in individual studies was analyzed independently by PM and RS by
         examining the methodological practices and outcomes of individual studies. Studies
         with unclear criteria for classifying validity status were excluded, as were three simula-
         tor/control samples in which uncharacteristic manipulations to the study design
         appeared to substantially influence results. Specifically, Barhon, Batchelor, Meares,
         Chekaluk, and Shores (2015) and Etherton, Bianchini, Greve, and Ciota (2005) both
         exposed controls to distractors to suppress performance and Schenk and Sullivan
         (2010) threatened real-world consequences to simulators if their invalid performances
         were detected.
            Data synthesis was completed using both fixed- and random-effects models derived
         from TOMM pass/fail frequency counts. For some articles, only sensitivity and specifi-
         city values were provided. In these cases, true positives were calculated by multiplying
         sensitivity by the number of individuals in the invalid group and true negatives were
         calculated by multiplying specificity by the number of individuals in the valid group.
         False negatives were then calculated by subtracting true positives from the invalid
         sample size, and false positives were calculated by subtracting true negatives from the
         valid sample size. Any non-integers were rounded to the nearest whole number, with
         0.5 being rounded up.
            Fixed-effects model analyses were conducted by summing frequency counts across
         samples for a given trial to calculate weighted mean values for specificity ((total true
         negatives/(total true negatives þ total false positives)) and sensitivity ((total true posi-
         tives/(total true positives þ total false negatives)). Random-effects meta-analyses using
         a restricted maximum-likelihood method were conducted to include within-studies
         and between-studies sources of variation for point and interval estimates (Takwoingi
         et al., 2017; Lee, Kim, Choi, Huh, & Park, 2015). As specificity and sensitivity values are
         proportions, they were subjected to meta-analysis after a logit transformation. In com-
         parison with the fixed-effects model, the random-effects model estimates the mean of
         a distribution of true effects. Large studies may yield more precise estimates than
         small studies, but each study estimates a different effect size, and each of these effect
         sizes serves as a sample from the population whose mean is being estimated.
         Therefore, as compared with the fixed-effects model, the weights assigned under a
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         random-effects model are more balanced, allowing the overall result to be less biased
         by the sample size of an individual study (Lee et al., 2015). Despite the benefits of ran-
         dom-effects models, there were several instances where too few samples were avail-
         able to appropriately run such analyses (i.e. k < 5; Jackson & Turner, 2017). Therefore,
         fixed-effects models were conducted in addition to random-effects models to allow
         for a wider variety of analyses. Inclusion of such data also allows for more direct com-
         parison to studies within this paradigm that reported data from fixed-effects models
         (e.g. Denning, 2012).
            TOMM data were grouped according to TOMM trial. Meta-analyses were conducted
         for Trial 1, Trial 2, and Retention, across both standard and alternative cutoffs, as well
         as for the TOMM when considering performance on Trial 2 (<45) and Retention (<45)
         collectively (i.e. failure on either trial constitutes an invalid performance). For each cut-
         off, meta-analyses were conducted using both fixed-effects and random-effects models
         by compiling all eligible samples. Cochran’s Q statistic was used as a measure of het-
         erogeneity, which is calculated as the weighted sum-of-squared differences between
         individual study effects and the pooled effect across studies. Given the number of
         analyses, results were considered significant at p < .01.
            Given the possibility of heterogeneity, subgroup analyses were also conducted.
         Fixed-effects and random-effects meta-analyses were conducted for those samples
         comprised only of actual examinees evaluated for neurocognitive or psychiatric disor-
         ders, thus excluding simulator/control studies and samples of patients evaluated for
         chronic pain. Simulator/control and chronic pain groups were analyzed by fixed-effects
         models only, as there was an insufficient number of samples to conduct random-
         effects model analyses in many cases. Positive predictive power (PPP) and negative
         predictive power (NPP) were calculated across invalidity base rates ranging from 10%
         to 50% for both standard and alternative cutoffs. Finally, data from studies examining
         TOMM performance in patients with dementia and English as a second language
         were described.


         Results
         Study selection
         Figure 1 details results from study selection and screening, including the number of
         studies excluded at each step of the screening process. Five-hundred and thirty-nine
         studies were initially identified. After applying selection criteria, 60 studies were even-
         tually retained for meta-analysis. Eleven additional studies, comprised of individuals
         with dementia or individuals for whom English was not the primary language, were
         excluded from meta-analysis but retained for the systematic review. Of note, multiple
         samples were often reported within the individual studies. For some studies, all indi-
         vidual samples met inclusion/exclusion criteria; yet, for other studies, some samples
         met selection criteria and were included, while other samples did not meet criteria
         and were excluded. Specifically, samples that were excluded were done so because
         they reported participants utilized in other included samples, were absent of validity
         status criterion external to the TOMM, or were comprised of participants
         with dementia.
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         Figure 1. Article selection.


         Trial 1
         Twenty articles meeting inclusion criteria provided data regarding specificity of Trial 1,
         with data reported across 24 samples. Specificity and sensitivity data were reported
         across multiple cutoff values for all but five samples and are noted in Tables 1 and 2.
         As noted in Table 1, Trial 1 produced a weighted mean specificity value of 0.90 at
         <44, largely due to the high specificity (i.e. 0.98) of healthy controls at this cutoff.
         Weighted mean specificity of 0.90 was first achieved across the neurocognitive and
         psychiatric group at a cutoff of <43, although five of nine samples with data at this
         cutoff yielded specificity values <0.90. Similarly, random-effects model estimates of
         Trial 1 specificity fell below 0.90 at this cutoff. By contrast, using a cutoff of <42
         resulted in specificity of 0.91 in the neurocognitive and psychiatric group whether
Table 1. TOMM Trial 1 specificity at multiple cutoffs.
Study                                            Validity Classification                 Sample                     n          <46        <45       <44       <43       <42        <41
Tombaugh (1997)                                  Controls                  Community Dwelling Volunteers            70          0.87       0.92      –         –         –          –
Ashendorf, Constantinou, and McCaffrey (2004)    Research volunteers       Depressed Older Adults                   31          0.97       1.00      1.00      1.00      1.00       1.00
Ashendorf et al. (2004)                          Controls                  Community Dwelling Older Adults         166          0.95       0.97      0.98      0.99      0.99       0.99
Yanez et al. (2006)                              Research volunteers       Severe Depression                        20          0.60       0.70      –         –         –          –
Yanez et al. (2006)                              Controls                  Community Research Volunteers            20          0.80       0.85      –         –         –          –
Greve et al. (2006a)                             Slick Criteria            Toxic Exposure                           17          0.88       0.88      0.88      0.94      0.94       0.94
Greve et al. (2006b)                             Slick Criteria            TBI – Moderate/Severe                    30          0.79       0.82      0.85      0.88      0.88       0.88
Greve et al. (2006b)                             Slick Criteria            TBI – Mild                               46          0.85       0.87      0.91      0.93      0.93       0.93
O’Bryant, Engel, Kleiner, Vasterling,            Slick Criteria            Mixed Clinical and Forensic             186          0.83       0.86      0.88      0.88      0.90       0.91
   and Black (2007)
O’Bryant et al. (2008)                           Controls                  Community Older Adult Volunteers        306           –         0.96       0.98      0.99      0.99      0.99
Greve, Etherton, Ord, Bianchini, and             Slick Criteria            Chronic Pain Patients                   118           0.81      0.87       0.91      0.95      0.96      0.99
   Curtis (2009)
Sollman, Ranseen, and Berry (2010)               Research volunteers       ADHD                                     29           –         0.83       –         –         –         –
Ryan, Glass, Hinds, and Brown (2010)             Controls                  Undergraduate Students                   36           –         –          1.00      1.00      1.00      1.00
Ryan et al. (2010)                               Controls                  Students – BNT before TOMM               36           –         –          –         –         1.00      1.00
Denning (2012)                                   Single PVT                Mixed Veterans                          331           0.77      0.82       0.85      0.88      0.91      0.94
Schroeder et al. (2013)                          Slick Criteria            Mixed Clinical                           36           0.75      0.78       0.86      0.89      0.89      0.89
Jones (2013)                                     Slick Criteria            Mixed Military                           45           –         0.93       0.96      0.98      0.98      1.00
Kulas, Axelrod, and Rinaldi (2014)               Multiple PVTs             Mixed Clinical                           52           0.87      0.89       0.89      0.89      0.92      0.92
Denning (2014)                                   Single PVT                Mixed Veterans                          100           –         –          –         –         –         0.92
Smith et al. (2014)                              Slick Criteria            IQ Score < 75                            55           –         –          –         –         –         0.92
Fazio, Denning, and Denney (2017)                Multiple PVTs             Criminal Forensic                        34           –         –          –         –         0.91      0.94
Bain and Soble (2017)                            Single PVT                Mixed Veterans                           58           0.94      –          0.88      –         –         –
An, Kaploun, Erdodi, and Abeare (2017)           Controls                  Undergraduate Students                  120           –         0.95       –         –         –         –
Bailey, Soble, and O’Rourke (2018)               Single PVT                Mixed Veterans                           44           –         0.98       –         –         –         –
Table 1. Cont. TOMM Trial 1 specificity
at multiple cutoffs
Study                                            Validity Classification   Patient Sample                      Sample Size    <46       <45        <44       <43       <42       <41
All Samples                                                 –                               –                      –            0.83      0.89       0.92      0.93      0.95      0.96
   Neuro/Psychiatric                                        –                               –                      –            0.81      0.85       0.88      0.90      0.91      0.93
   Pain Conditions                                          –                               –                      –            0.81      0.87       0.91      0.95      0.96      0.99
   Healthy Control Studies                                  –                               –                      –            0.92      0.95       0.98      0.99      0.99      0.99
Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; BNT ¼ Boston Naming Test; PVT ¼ performance validity test; TBI ¼ traumatic brain injury; Neuro/Psychiatric ¼ samples
comprised of actual examinees evaluated for a neurocognitive or psychiatric disorder; All aggregated specificity rates are calculated based on weighted average specificity values.
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Table 2. TOMM Trial 1 sensitivity at multiple cutoffs.
Study                                       Validity Classification                Sample                    n          <46          <45          <44          <43          <42          <41
Etherton et al. (2005)                      Simulator Pain                Undergraduate Students             20         1.00         1.00         1.00         1.00         1.00         1.00
Heinze and Purisch (2001)                   Expert opinion                Criminal Forensic                  57          –           0.76          –            –            –            –
Greve et al. (2006a)                        Slick Criteria                Toxic Exposure                     33         0.76         0.70         0.64         0.64         0.55         0.52
Greve et al. (2006b)                        Slick Criteria                TBI – Mild                         30         0.83         0.73         0.73         0.73         0.67         0.60
Greve et al. (2006b)                        Slick Criteria                TBI – Moderate/Severe              11         0.82         0.73         0.73         0.46         0.46         0.46
O’Bryant et al. (2007)                      Slick Criteria                Mixed Clinical/Forensic            53         0.89         0.87         0.85         0.81         0.79         0.76
Greve et al. (2009)                         Slick Criteria                Chronic Pain                      216         0.82         0.56         0.56         0.53         0.51         0.49
                                                                                                                                                                                                 P. K. MARTIN ET AL.




Sollman, Ranseen, and Berry (2010)          Simulators                    ADHD Simulation                    30          –           0.87          –            –            –            –
Denning (2012)                              Single PVT                    Mixed Veterans                    166         0.88         0.85         0.84         0.79         0.76         0.72
Schroeder et al. (2013)                     Slick Criteria                Mixed Forensic                     26         0.85         0.73         0.73         0.65         0.54         0.54
Jones (2013)                                Slick Criteria                Mixed Military                    132          –           0.71         0.69         0.66         0.63         0.58
Kulas et al. (2014)                         Multiple PVTs                 Mixed Clinical                     12         0.67         0.67         0.67         0.67         0.67         0.67
Denning (2014)                              Single PVT                    Mixed Veterans                     51          –            –            –            –            –           0.77
Bain and Soble (2017)                       Single PVT                    Mixed Veterans                     32          –           0.85          –           0.81          –            –
Fazio et al. (2017)                         Multiple PVTs                 Criminal Forensic                  62          –            –            –            –           0.73         0.71
Bailey et al. (2018)                        Single PVT                    Mixed Veterans                     18          –           0.50          –            –            –            –
All Samples                                            –                                                                0.85         0.73         0.71         0.68         0.65         0.62
   Neuro/Psychiatric                                   –                                                                0.85         0.77         0.76         0.73         0.69         0.66
   Pain Conditions                                     –                                                                0.82         0.56         0.56         0.53         0.51         0.49
   Simulator Studies                                   –                                                                1.00         0.92         1.00         1.00         1.00         1.00
Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; PVT ¼ performance validity test; TBI ¼ traumatic brain injury; Clinical/Forensic ¼ clinical and forensic patients; Neuro/
Psychiatric ¼ samples comprised of actual examinees evaluated for a neurocognitive or psychiatric disorder; all aggregated sensitivity rates are calculated based on weighted average
sensitivity values.
                                                                                                                                                                                                                       Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 145 of 184 Page ID #:2191
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         Table 3. TOMM specificity by weighted mean and random-effects model.
                                                                                      Specificity
                                                                                                             Heterogeneity
                                                   Samples (k)        n        WM        REM (95% CI)        Cochrane’s Q
         T1 < 41
                             All samples                17          1625      0.96      0.95 (0.92–0.97)         33.1
                             Neuro/Psychiatric          12           963      0.93      0.93 (0.91–0.94)          7.4
         T1 < 42
                             All samples                15          1470      0.95      0.95 (0.92–0.97)         33.4
                             Neuro/Psychiatric          10           808      0.91      0.91 (0.89–0.93)          5.6
         T2 < 45
                             All samples                53          3179      0.98      0.97 (0.96–0.98)         74.7
                             Neuro/Psychiatric          29          1745      0.97      0.96 (0.94–0.97)         46.5
         T2 < 49
                             All samples                21          1010      0.97      0.96 (0.93–0.98)         43.9
                             Neuro/Psychiatric          13           450      0.95      0.94 (0.89–0.97)         25.4
         Retention < 45
                             All samples                33          1195      0.99      0.97 (0.96–0.98)         14.2
                             Neuro/Psychiatric          16           504      0.98      0.96 (0.94–0.98)          5.3
         Retention < 49
                             All samples                13           586      0.95      0.93 (0.93–0.96)         18.3
                             Neuro/Psychiatric           9           308      0.93      0.91 (0.87–0.94)          7.4
         T2 & Retention
                             All samples                14           939      0.98      0.96 (0.93–0.98)         31.8
                             Neuro/Psychiatric           7           596      0.97      0.96 (0.91–0.98)         15.1
         Note: T2 ¼ Trial 2; T1 ¼ Trial 1; WM ¼ weighted mean; REM ¼ random-effect model; Neuro/Psychiatric ¼ samples
         comprised of actual examinees evaluated for a neurocognitive or psychiatric disorder. Heterogeneity is significant
         at p < .01.



         utilizing fixed or random-effects model approaches (Table 3), with only two samples
         falling below acceptable thresholds for specificity. This cutoff also resulted in specifi-
         city values above 0.90 when utilized in samples of healthy controls and pain patients
         (Table 1). The more conservative and previously recommended Trial 1 cutoff (i.e. <41;
         Denning, 2012) resulted in 93% specificity in the neurocognitive and psychiatric group
         regardless of statistical approach.
             Sensitivity for Trial 1 increased as a function of increasing cutoff values (Table 2). At
         a cutoff of <41, weighted mean and random-effects model-derived sensitivity values
         (Table 4) were 0.62 and 0.64, respectively, when examining all eligible studies, and
         0.66 and 0.65, respectively, when including only neurocognitive and psychiatric sam-
         ples. At a cutoff of <42, sensitivity was 0.65 (regardless of statistical approach) when
         all eligible studies were included, and 0.69 and 0.67 when including only neurocogni-
         tive and psychiatric samples. Significant heterogeneity was evident across both cutoffs
         regarding sensitivity and specificity analyses when all studies were analyzed together.
         Conversely, statistically significant heterogeneity between Trial 1 samples was not evi-
         dent when examining the neurocognitive/psychiatric samples separately.


         Trial 2 and retention standard cutoffs
         Standard cutoffs for invalidity, as recommended by the TOMM publication manual
         (Tombaugh, 1997), are scores of <45 on Trial 2 or Retention. Forty-one articles
         reported specificity data across 53 samples for Trial 2 (Table 5), and 31 articles
         reported sensitivity data across 39 samples for Trial 2 at a cutoff of <45 (Table 6).
         Weighted mean and random-effects model-derived specificity values were 0.98 and
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         Table 4. TOMM sensitivity by weighted mean and random-effects model.
                                                                                    Sensitivity
                                                                                                          Heterogeneity
                                                  Samples (k)       n        WM        REM (95% CI)       Cochrane’s Q
         T1 < 41
                              All samples              12           812      0.62     0.64 (0.56–0.70)        41.94
                              Neuro/Psychiatric        10           576      0.66     0.65 (0.58–0.71)        19.3
         T1 < 42
                              All samples              11           761      0.65     0.63 (0.57–0.72)        41.3
                              Neuro/Psychiatric         9           525      0.69     0.67 (0.60–0.73)        17.3
         T2 < 45
                              All samples              39          1590      0.50     0.56 (0.48–0.64)       177.5
                              Neuro/Psychiatric        17           691      0.45     0.46 (0.39–0.52)        39.4
         T2 < 49
                              All samples              16           724      0.59     0.64 (0.55–0.71)        54.7
                              Neuro/Psychiatric        11           384      0.63     0.62 (0.55–0.68)        15.4
         Retention < 45
                              All samples              25           989      0.50     0.56 (0.47–0.64)        98.0
                              Neuro/Psychiatric         9           286      0.55     0.55 (0.49–0.68)         5.1
         Retention < 49
                              All samples              10           585      0.61     0.65 (0.56–0.73)        35.9
                              Neuro/Psychiatric         7           291      0.70     0.69 (0.63–0.74)         3.4
         T2 & Retention
                              All samples              16           603      0.61     0.66 (0.55–0.75)        70.1
                              Neuro/Psychiatric         4           167      0.56     0.56 (0.41–0.69)         8.6
         Note: T2 ¼ Trial 2; T1 ¼ Trial 1; T2 & Retention ¼ Trial 2 and Retention combined; WM ¼ weighted mean;
         REM ¼ random-effects model; Neuro/Psychiatric
                                           
                                                          ¼ samples comprised of actual examinees evaluated for a neuro-
         cognitive or psychiatric disorder. Heterogeneity is significant at p<.01.


         0.97, respectively, when examining all eligible samples, and 0.97 and 0.96 when
         including only neurocognitive and psychiatric samples (Table 3). Further subgrouping
         of the neurocognitive/psychiatric samples revealed weighted mean specificities of 0.99
         for mild traumatic brain injury (TBI; k¼ 4, n ¼ 183), 0.91 for moderate/severe TBI (k ¼ 3,
         n ¼ 109), 0.96 for mild intellectual disability (ID; k ¼ 3, n ¼ 100), and 0.94 for only
         psychiatric samples (k ¼ 5, n ¼ 382). Additionally, specificity was 1.00 in healthy
         controls samples (Table 7) and 1.00 across chronic pain samples (k ¼ 3, n ¼ 214).
             Weighted mean and random-effects model-derived sensitivity values (Table 4) were 0.50
         and 0.56, respectively, when examining all eligible studies, and 0.45 and 0.46, respectively,
         when including only neurocognitive and psychiatric samples. Significant heterogeneity was
         seen in both the overall group and the neurocognitive/psychiatric subgroup. Weighted
         mean sensitivity was 0.66 when including only simulator studies in which participants were
         asked to feign a neurocognitive disorder, excluding attention deficit hyperactivity disorder
         (ADHD), learning disability (LD), or ID. (Table 7). Sensitivity was 0.41 in simulator studies
         identifying participants instructed to feign ADHD, LD, or ID (k ¼ 4, n ¼ 118).
             Twenty-four articles reported specificity data across 33 samples for the Retention
         trial (Table 8) and 20 articles reported sensitivity data across 25 samples for the
         Retention trial at a cutoff of <45 (Table 9). Weighted mean and random-effects
         model-derived specificities were 0.99 and 0.97, respectively, when examining all eli-
         gible samples, and 0.98 and 0.97 when including only neurocognitive and psychiatric
         samples (Table 3). Further subgrouping of the neurocognitive/psychiatric sample
         revealed weighted mean specificities of 0.98 for mild TBI (k ¼ 3, n ¼ 94) and 0.96 for
         mild ID (k ¼ 2, n ¼ 45). Additionally, specificity was 1.00 in healthy control samples
         (Table 3) and 1.00 across chronic pain samples (k ¼ 3, n ¼ 214).
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         Table 5. TOMM Trial 2 specificity at <45.
         Study                                      Validity Classification          Sample           n       Specificity
         Tombaugh (1997)                            Controls                  Undergraduate            21        1.00
                                                                              Students
         Tombaugh (1997)                            Controls                  Community Volunteers     70        1.00
         Rees, Tombaugh, Gansler, and               Controls                  Undergraduate            19        1.00
            Moczynski (1998)                                                  Students
         Rees et al. (1998)                         Research volunteers       TBI                      10        0.96
         Rees et al. (1998)                         Controls                  Community Volunteers     20        1.00
         Bolan, Foster, Schmand, and Bolan (2002)   Controls                  Community Volunteers     16        1.00
         Ashendorf, O’Bryant, and                   Controls                  Community Volunteers    197        1.00
            McCaffrey (2003)                                                  Older Adult
         Ashendorf et al. (2004)                    Research volunteers       Depression –             31        1.00
                                                                              Older Adults
         Powell, Gfeller, Hendricks, and            Controls                  Undergraduate            28        1.00
            Sharland (2004)                                                   Students
         Etherton et al. (2005)                     Controls                  Undergraduate            20        1.00
                                                                              Students
         Yanez et al. (2006)                        Research volunteers       Depression               20        0.90
         Yanez et al. (2006)                        Controls                  Community Volunteers     20        1.00
         Greve et al. (2006a)                       Slick Criteria            Toxic Exposure           17        1.00
         Greve et al. (2006b)                       Slick Criteria            TBI – Moderate/Severe    33        0.94
         Greve et al. (2006b)                       Slick Criteria            TBI – Mild               46        0.98
         Iverson, Page, Koehler, Shojania, and      Research volunteers       Fibromyalgia             54        1.00
            Badii (2007)
         Greve, Ord, Curtis, Bianchini, and         Pass multiple PVTs        Chronic Pain             42        0.98
            Brennan (2008)
         Greve et al. (2008)                        Pass multiple PVTs        TBI – 63% Mild           43        0.98
         Greiffenstein, Greve, Bianchini, and       Single PVT                Disability               59        0.95
            Baker (2008)
         Greiffenstein et al. (2008)                Single PVT                Disability              184        1.00
         Batt, Shores, and Chekaluk (2008)          Research volunteers       TBI – Severe             25        0.84
         O’Bryant et al. (2008)                     Controls                  Community Volunteers    306        1.00
                                                                              Older Adult
         Greve et al. (2009)                        Slick Criteria            Chronic Pain            118        1.00
         Rosenfeld, Green, Pivovarova, Dole, and    Research volunteers       Mixed Psych              87        0.94
            Zapf (2010)
         Shandera et al. (2010)                     Research volunteers       ID – Mild                24        0.88
         Sollman et al. (2010)                      Controls                  Undergraduate            14        1.00
                                                                              Students
         Sollman et al. (2010)                      Research Volunteers       ADHD – College          29         0.97
         Schenk and Sullivan (2010)                 Controls                  Undergraduate           18         1.00
                                                                              Students
         Ryan et al. (2010)                         Controls                  Undergraduate           72         1.00
                                                                              Students
         Shandera et al. (2010)                     Controls                  Community Volunteers    10         1.00
         Price et al. (2011)                        Research volunteers       Methamphetamine         71         1.00
                                                                              Abuse
         Armistead-Jehle and Gervais (2011)         Single PVT                Forensic Disability     271        0.98
         Green (2011)                               Single PVT                Mixed Forensic          204        0.99
         Vanderslice-Barr, Miele, Jardin, and       Controls                  Undergraduate            48        1.00
            McCaffrey (2011)                                                  Students
         Jasinski et al. (2011)                     Controls                  Undergraduate           48         1.00
                                                                              Students
         Green, Rosenfeld, Belfi, Rohlehr, and      Expert opinion            Forensic Psych          73         0.88
            Pierson (2012)
         An, Zakzanis, and Joordens (2012)          Controls                  Undergraduate           63         1.00
                                                                              Students
         Davis, Wall, and Whitney (2012)            Controls                  Undergraduate           73         1.00
                                                                              Students
         Davis et al. (2012)                        Single PVT                Mixed Veterans          63         0.95
         Sullivan and Elliott (2012)                Controls                  Community Volunteers    41         1.00
         Jones (2013)                               Slick Criteria            Mixed Military          45         1.00
                                                                                                            (continued)
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         Table 5. Continued.
         Study                                           Validity Classification            Sample                n      Specificity
         Schroeder et al. (2013)                         Slick Criteria             Mixed Forensic                36       1.00
         Love, Glassmire, Zanolini, and                  Expert opinion             ID – Mild (Forensic)          21       0.95
            Wolf (2014)
         Kulas et al. (2014)                             Pass multiple PVTs         Mixed Veterans                52        0.98
         Williamson et al. (2014)                        Research volunteers        ADHD                          22        1.00
         Williamson et al. (2014)                        Research Volunteers        ADHD þ Psychiatric            22        1.00
         Bashem et al. (2014)                            Research volunteers        TBI – Moderate/Severe         51        0.92
         Buddin et al. (2014)                            Slick Criteria             Mixed Forensic                34        0.97
         Smith et al. (2014)                             Slick Criteria             IQ Score  75                 55        1.00
         Barhon et al. (2015)                            Controls                   Undergraduate                 23        1.00
                                                                                    Students
         Erdodi and Rai (2017)                           Single PVT                 Mixed Psychiatric             50        1.00
         Erdodi and Rai (2017)                           Single PVT                 TBI – 70% Mild                47        1.00
         An et al. (2017)                                Controls                   Undergraduate                120        1.00
                                                                                    Students
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; TBI ¼ traumatic brain injury; PVT ¼ performance
         validity test; ADHD ¼ attention deficit hyperactivity disorder; ID ¼ intellectual disability.

         Table 6. TOMM Trial 2 sensitivity at <45.
         Author                                    Validity Classification              Diagnosis                n       Sensitivity
         Tombaugh (1997)                           Simulators (UC)             Undergraduate Students            20        1.00
         Rees et al. (1998)                        Simulators                  Undergraduate Students            25        0.84
         Rees et al. (1998)                        Simulators (UC)             TBI Simulators                     8        1.00
         Heinze and Purisch (2001)                 Expert opinion              Forensic Criminal                 57        0.66
         Bolan et al. (2002)                       Simulators (UC)             Community Volunteers              16        1.00
         Powell et al. (2004)                      Simulators (C)              Undergraduate Students            27        0.93
         Powell et al. (2004)                      Simulators (C)              Undergraduate Students            25        0.96
         Etherton et al. (2005)                    Simulator Pain (UC)         Undergraduate Students            20        0.85
         Greve et al. (2006a)                      Slick Criteria              Toxic Exposure                    33        0.55
         Greve et al. (2006b)                      Slick Criteria              TBI - Moderate/Severe             11        0.46
         Greve et al. (2006b)                      Slick Criteria              TBI – Mild                        30        0.40
         Haber and Fichtenberg (2006)              Single PVT                  Forensic – Worker’s Comp          17        0.76
         Batt et al. (2008)                        Simulator (UC)              TBI – Asked to Feign              11        1.00
         Greiffenstein et al. (2008)               Single PVT                  Disability – Mostly PCS           77        0.57
         Greiffenstein et al. (2008)               Single PVT                  Disability Mixed                 153        0.37
         Greve et al. (2008)                       Multiple PVTs               TBI – 63% Mild                    27        0.48
         Greve et al. (2008)                       Multiple PVTs               Chronic Pain                      58        0.40
         Greve et al. (2009)                       Slick Criteria              Chronic Pain                     216        0.35
         Schenk and Sullivan (2010)                Simulators (UC)             Undergraduate Students            24        0.50
         Rosenfeld et al. (2010)                   Simulators (UC)             Community Volunteers              29        0.62
         Sollman et al. (2010)                     Simulators (ADHD)           Undergraduate Students            30        0.47
         Shandera et al. (2010)                    Simulators (ID)             Community Volunteers              25        0.40
         Armistead-Jehle and Gervais (2011)        Single PVT                  Forensic Disability               74        0.32
         Green (2011)                              Single PVT                  Mixed Forensic                    40        0.38
         Jasinski et al. (2011)                    Simulators (ADHD)           Undergraduate Students            40        0.38
         Davis et al. (2012)                       Single PVT                  Mixed Veterans                    29        0.59
         Davis et al. (2012)                       Simulators (C)              Undergraduate Students            73        0.25
         Davis et al. (2012)                       Simulators (UC)             Undergraduate Students            73        0.42
         Green et al. (2012)                       Expert opinion              Forensic Psych                    25        0.41
         Sullivan and Elliott (2012)               Simulators (UC)             Community Volunteer               40        0.80
         Schroeder et al. (2013)                   Slick Criteria              Mixed Forensic                    26        0.46
         Buddin et al. (2014)                      Slick Criteria              Mixed Clinical                    25        0.44
         Kulas et al. (2014)                       Multiple PVTs               Mixed Clinical                    12        0.42
         Bashem et al. (2014)                      Simulators (UC)             Community Volunteer               58        0.50
         Williamson et al. (2014)                  Simulators (ADHD)           Undergraduate Students            23        0.39
         Barhon et al. (2015)                      Simulators (C)              Undergraduate Students            24        0.88
         Barhon et al. (2015)                      Simulators (UC)             Undergraduate Students            22        0.91
         Erdodi and Rai (2017)                     Single PVT                  TBI - 70% Mild                    37        0.32
         Erdodi and Rai (2017)                     Single PVT                  Psychiatric                       18        0.22
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; TBI ¼ traumatic brain injury; PVT ¼ performance valid-
         ity test; ADHD ¼ attention deficit hyperactivity disorder; ID ¼ intellectual disability; PCS ¼ post-concussive syndrome;
         C ¼ coached simulator; UC ¼ uncoached simulator.
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         Table 7. Weighted mean sensitivity and specificity in simulator and control studies.
                                                 Healthy controls                                Simulated neurocognitive disorder
         Trial                    Samples (k)             N               Specificity        Samples (k)         n          Sensitivity
         T1 < 41                        4                544                 0.99                  1             20            1.00
         T1 < 42                        4                544                 0.99                  1             20            1.00
         T2 < 45                       21               1220                 1.00                 16            507            0.66
         T2 < 49                        6                400                 0.99                  2             46            0.91
         Retention < 45                14                477                 1.00                 10            311            0.63
         Retention < 49                 2                118                 0.99                 –              –              –
         T2 & Retention                 7                343                 1.00                 10            388            0.63
         Note: T2 ¼ Trial 2; T1 ¼ Trial 1.


         Table 8. TOMM Retention specificity at <45.
         Study                                  Validity Classification                    Sample                 n         Specificity
         Tombaugh (1997)                        Controls                            Undergraduate Students        21           1.00
         Tombaugh (1997)                        Controls                            Community Volunteers          70           1.00
         Rees et al. (1998)                     Controls                            Undergraduate Students        19           1.00
         Rees et al. (1998)                     Research Volunteer                  TBI                           10           1.00
         Bolan et al. (2002)                    Controls                            Community Volunteers          16           1.00
         Powell et al. (2004)                   Controls                            Undergraduate Students        28           1.00
         Etherton et al. (2005)                 Controls                            Undergraduate Students        20           1.00
         Yanez et al. (2006)                    Research Volunteer                  Depression                    20           0.95
         Yanez et al. (2006)                    Controls                            Community Volunteers          20           1.00
         Greve et al. (2006a)                   Slick Criteria                      Toxic exposure                12           1.00
         Greve et al. (2006b)                   Slick Criteria                      TBI - Mild                    41           1.00
         Greve et al. (2006b)                   Slick Criteria                      TBI Moderate/Severe           30           0.94
         Iverson et al. (2007)                  Research Volunteer                  Fibromyalgia                  54           1.00
         Greve et al. (2008)                    Pass multiple PVTs                  Chronic Pain                  42           0.98
         Greve et al. (2008)                    Pass multiple PVTs                  TBI - 63% Mild                43           0.95
         Greve et al. (2009)                    Slick Criteria                      Chronic Pain                 118           1.00
         Ryan et al. (2010)                     Controls                            Undergraduate Students        72           1.00
         Shandera et al. (2010)                 Research Volunteers                 ID – Mild                     24           0.92
         Shandera et al. (2010)                 Controls                            Community Volunteers          10           1.00
         Sollman et al. (2010)                  Research Volunteer                  ADHD – College                29           0.97
         Sollman et al. (2010)                  Controls                            Undergraduate Students        14           1.00
         Schenk and Sullivan (2010)             Controls                            Undergraduate Students        18           1.00
         Vanderslice-Barr et al. (2011)         Controls                            Undergraduate Students        48           1.00
         Jasinski et al. (2011)                 Controls                            Undergraduate Students        48           1.00
         Davis et al. (2012)                    Controls                            Undergraduate Students        73           1.00
         Davis et al. (2012)                    Single PVT                          Mixed Veteran                 63           0.95
         Schroeder et al. (2013)                Slick Criteria                      Mixed Forensic                36           1.00
         Jones (2013)                           Slick Criteria                      Mixed Military                45           1.00
         Love et al. (2014)                     Expert Opinion                      ID - Mild (Forensic)          21           1.00
         Kulas et al. (2014)                    Pass multiple PVTs                  Mixed Veterans                52           0.98
         Williamson et al. (2014)               Research Volunteer                  ADHD                          22           1.00
         Williamson et al. (2014)               Research Volunteer                  ADHD þ Psychiatric            22           1.00
         Buddin et al. (2014)                   Slick Criteria                      Mixed Forensic                34           0.97
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; TBI ¼ traumatic brain injury; PVT ¼ performance
         validity test; ADHD ¼ attention deficit hyperactivity disorder; ID ¼ intellectual disability.


             Weighted mean and random-effects model-derived sensitivities (Table 4) were 0.50 and
         0.56, respectively, when examining all eligible studies, and 0.55 when including only neu-
         rocognitive and psychiatric samples. Significant heterogeneity was seen when examining
         all samples together, but not when examining the subgroup of neurocognitive/psychiatric
         samples. Weighted mean sensitivity improved to 0.63 when including only simulator
         studies in which participants were asked to feign a neurocognitive disorder (Table 7) but
         fell to 0.41 in simulator samples where examines were instructed to feign ADHD, LD, or
         ID (k ¼ 4, n ¼ 118).
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         Table 9. TOMM Retention sensitivity at <45.
         Study                             Validity Classification              Sample                  n          Sensitivity
         Tombaugh (1997)                   Simulator (UC)              Undergraduate Students           20            1.00
         Rees et al. (1998)                Simulator (UC)              Undergraduate Students           25            0.88
         Rees et al. (1998)                Simulator (UC)              TBI - Asked to Feign              8            1.00
         Heinze and Purisch (2001)         Expert Opinion              Forensic Criminal                57            0.65
         Bolan et al. (2002)               Simulator (UC)              Community Volunteers             16            1.00
         Powell et al. (2004)              Simulator (C)               Undergraduate Students           27            0.93
         Powell et al. (2004)              Simulator (C)               Undergraduate Students           25            0.96
         Etherton et al. (2005)            Simulator Pain (UC)         Undergraduate Students           20            0.75
         Greve et al. (2006a)              Slick Criteria              Toxic Exposure                   31            0.52
         Greve et al. (2006b)              Slick Criteria              TBI – Mild                       46            0.57
         Greve et al. (2006b)              Slick Criteria              TBI – Moderate/Severe            33            0.46
         Greve et al. (2008)               Multiple PVTs               TBI – 63% Mild                   27            0.56
         Greve et al. (2008)               Multiple PVTs               Chronic Pain                     58            0.35
         Greve et al. (2009)               Slick Criteria              Chronic Pain                    216            0.34
         Schenk and Sullivan (2010)        Simulator (UC)              Undergraduate Students           24            0.42
         Sollman et al. (2010)             Simulator – ADHD            Undergraduate Students           30            0.47
         Shandera et al. (2010)            Simulator – ID              Community Volunteers             25            0.44
         Jasinski et al. (2011)            Simulator (ADHD)            Undergraduate Students           40            0.35
         Davis et al. (2012)               Single PVT                  Mixed Veterans                   29            0.62
         Davis et al. (2012)               Simulator (C)               Undergraduate Students           73            0.33
         Davis et al. (2012)               Simulator (UC)              Undergraduate Students           73            0.44
         Schroeder et al. (2013)           Slick Criteria              Mixed Forensic                   26            0.50
         Buddin et al. (2014)              Slick Criteria              Mixed Clinical                   25            0.48
         Kulas et al. (2014)               Multiple PVTs               Mixed Clinical                   12            0.50
         Williamson et al. (2014)          Simulator (ADHD)            Undergraduate Students           23            0.39
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; TBI ¼ traumatic brain injury; PVT ¼ performance
         validity test; ADHD ¼ attention deficit hyperactivity disorder; ID ¼ intellectual disability; PCS ¼ post-concussive
         syndrome; C ¼ coached simulator; UC ¼ uncoached simulator.


            Tables 10 and 11 present specificity and sensitivity data for the TOMM when
         considering performance on Trial 2 and Retention collectively (i.e. failure on either trial
         constitutes an invalid performance). Using this approach, overall sensitivity values
         using the weighted mean and random-effects models were 0.61 and 0.66, respectively,
         and 0.56 when examining only neurocognitive and psychiatric samples (Table 4).
         Specificity remains high, ranging from 0.96 to 0.98 across groupings (Table 3).
         For both sensitivity and specificity, statistically significant heterogeneity was seen
         when examining all samples together but not when examining the subgroup of
         neurocognitive/psychiatric samples.


         Trial 2 and retention alternative cutoffs
         A subgroup of included TOMM studies provided classification accuracy data
         when utilizing alternative cutoff values. Tables 12–15 depict Trial 2 and Retention
         specificity and sensitivity values at selected alternative cutoffs. A Trial 2 cutoff of
         <49 was the first cutoff to maintain specificity values of 0.90 or above in both
         fixed- and random-effects models when all studies were combined and when the
         neurocognitive/psychiatric group was separately analyzed. When using this cutoff,
         weighted mean and random-effects model-derived specificity values were 0.97 and
         0.96, respectively, when examining all eligible samples, and 0.95 and 0.94 when
         including only neurocognitive and psychiatric samples (Table 3). On Retention,
         a cutoff of <49 was also the first cutoff to maintain specificity values of 0.90 or
         above across the group that contained all studies and the group that contained
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         Table 10. TOMM Trial 2 and Retention combined specificity at <45.
         Study                                         Validity Classification              Sample             n     Specificity
         Rees et al. (1998)                            Controls                     Undergraduate Students      20      1.00
         Tan, Slick, Strauss, and Hultsch (2002)       Controls                     Undergraduate Students      27      0.96
         Gervais, Rohling, Green, and Ford (2004)      Multiple PVTs                Forensic/Workers Comp      341      1.00
         DenBoer and Hall (2007)                       Controls                     Undergraduate Students     146      1.00
         Lindstrom, Lindstrom, Coleman,                Controls                     Undergraduate Students      25      1.00
            Nelson, and Gregg (2009)
         Pivovarova, Rosenfeld, Dole,                  Research Volunteer           Psychiatric Outpatients    86       0.94
            Green, and Zapf (2009)
         Davis et al. (2012)                           Single PVT                   Mixed Veterans             63       0.95
         Gunner et al. (2012)                          Single PVT                   Mixed Forensic             24       0.96
         Weinborn, Woods, Nulsen,                      Controls                     Undergraduate Students     26       1.00
            and Leighton (2012)
         Davis et al. (2012)                           Controls                     Undergraduate Students     73       1.00
         Weinborn et al. (2012)                        Controls                     Undergraduate Students     26       1.00
         Williamson et al. (2014)                      Research Volunteer           ADHD                       22       1.00
         Williamson et al. (2014)                      Research Volunteer           ADHD þ Psychiatric         22       1.00
         Fazio, Sanders, and Denney (2015)             Multiple PVTs                Forensic (Criminal)        38       0.87
         Note: PVT ¼ Performance validity test; ADHD ¼ attention deficit hyperactivity disorder.


         Table 11. TOMM Trial 2 and Retention combined sensitivity at <45.
         Study                                            Validity Classification             Sample            n    Sensitivity
         Davis et al. (2012)                              Simulators (C)              Undergraduate Students    73      0.33
         Rees et al. (1998)                               Simulators                  Undergraduate Students    20      0.95
         Tan et al. (2002)                                Simulators                  Undergraduate Students    25      0.80
         GerGervais, Rohling, Green, and Ford (2004)      Multiple PVTs               Forensic/Workers Comp     73      0.52
         DenBoer and Hall (2007)                          Simulators (C)              Undergraduate Students    56      0.60
         DenBoer and Hall (2007)                          Simulators (UC)             Undergraduate Students    35      0.80
         Lindstrom et al. (2009)                          Simulator LD                Undergraduate Students    25      0.68
         Pivovarova et al. (2009)                         Simulators                  Community Volunteers      29      0.62
         Weinborn et al. (2012)                           Simulators                  Undergraduate Students    27      1.00
         Weinborn et al. (2012)                           Simulators                  Undergraduate Students    26      0.89
         Weinborn et al. (2012)                           Simulators                  Undergraduate Students    24      0.83
         Davis et al. (2012)                              Simulators (UC)             Undergraduate Students    73      0.45
         Davis et al. (2012)                              Single PVT                  Mixed Veterans            29      0.66
         Gunner et al. (2012)                             Single PVT                  Forensic – most mTBI      24      0.33
         Williamson et al. (2014)                         Simulator ADHD              Undergraduate Students    23      0.52
         Fazio et al. (2015)                              Multiple PVTs               Forensic (Criminal)       41      0.68
         Note: TBI ¼ traumatic brain injury; PVT ¼ performance validity test; ADHD ¼ attention deficit hyperactivity disorder;
         LD ¼ learning disability; C ¼ coached simulator; UC ¼ uncoached simulator.

         only neurocognitive/psychiatric studies. This cutoff resulted in overall specificity
         values of 0.95 and 0.93 when utilizing weighted mean and random-effects model
         approaches, respectively. When examining only neurocognitive and psychiatric
         samples, specificity values were 0.93 and 0.91.
            For both Trial 2 and Retention, TOMM specificity in a sample of moderate/severe
         TBI patients (Greve et al., 2006a) and a sample of patient with severe depression
         (Yanez, Fremouw, Tennant, Strunk, & Coker, 2006) fell below 90% when utilizing
         a cutoff of <49. Specificity was 90% across all other individual neurocognitive/
         psychiatric samples that were examined, which were mostly of patients with mixed
         etiologies or mTBI (Table 12). Weighted mean specificity was 0.99 for both Trial 2
         and Retention across healthy controls and chronic pain examinees.
            At a Trial 2 cutoff of <49, weighted mean and random-effects model-derived
         sensitivity values (Table 4) were 0.59 and 0.64, respectively, when examining all
         eligible studies, and 0.63 and 0.62, respectively, when including only neurocognitive
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         Table 12. TOMM Trial 2 specificity at alternative cutoffs.
         Study                     Validity Classification            Sample              n        <50    <49    <48    <47    <46
         Tombaugh (1997)           Controls                  Research Volunteers OA       70       0.96   0.97   0.99   1.00   1.00
         Tombaugh (1997)           Controls                  Undergraduate Students       21       1.00   1.00   1.00   1.00   1.00
         Ashendorf et al. (2003)   Controls                  Research Volunteers OA      197       1.00   1.00   1.00   1.00   1.00
         Ashendorf et al. (2004)   Research Volunteers       Research Volunteers Dep      31       0.94   1.00   1.00   1.00   1.00
         Greve et al. (2006a)      Slick Criteria            Toxic Exposure               17       1.00   1.00   1.00   1.00   1.00
         Greve et al. (2006b)      Slick Criteria            TBI – Mild                   46       0.85   0.93   0.96   0.98   0.98
         Greve et al. (2006b)      Slick Criteria            TBI – Moderate/Severe        33       0.70   0.76   0.85   0.91   0.94
         Yanez et al. (2006)       Research Volunteers       Severe Depression            20        –     0.8     –     0.90    –
         Iverson et al. (2007)     Research Volunteers       Fibromyalgia                 54        –      –     1.00    –      –
         Greve et al. (2008)       Multiple PVTs             TBI – 63% Mild               43        –     0.93    –      –      –
         Greve et al. (2008)       Multiple PVTs             Chronic Pain                 42        –     0.98    –      –
         Greve et al. (2009)       Slick Criteria            Chronic Pain                118       0.88   1.00   1.00   1.00   1.00
         Vanderslice-Barr          Controls                  Undergraduate Students       48        –     1.00   1.00   1.00   1.00
            et al. (2011)
         Sullivan and              Controls                  Undergraduate Students       41        –     1.00   1.00   1.00   1.00
            Elliott (2012)
         Schroeder et al. (2013)   Slick Criteria            Mixed Forensic               36       0.94   0.97   0.97   0.97   0.97
         Jones (2013)              Slick Criteria            Mixed Military               45       0.96   1.00   1.00   1.00   1.00
         Kulas et al. (2014)       Multiple PVTs             Mixed Clinical               52       0.98   0.98   0.98   0.98   0.98
         Smith et al. (2014)       Expert Opinion            Low IQ                        9        –     1.00   1.00   1.00   1.00
         Love et al. (2014)        Expert Opinion            ID – Mild                    21       0.67   0.92   0.92   0.92   0.95
         Barhon et al. (2015)      Controls                  Undergraduate Students       23       0.91   0.96   0.96   0.96   0.96
         Erdodi and Rai (2017)     Single PVT                TBI – 70% Mild               50       0.91   0.98   0.98   1.00   1.00
         Erdodi and Rai (2017)     Single PVT                Psychiatric                  47       0.96   0.98   1.00   1.00   1.00
         All studies                          –                          –                –        0.93   0.97   0.99   0.99   0.99
            Neuro/Psychiatric                 –                          –                –        0.90   0.95   0.97   0.98   0.98
            Healthy Controls                  –                          –                –        0.98   0.99   0.99   1.00   1.00
            Chronic Pain                      –                          –                –        0.88   0.99   1.00   1.00   1.00
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; OA ¼ older adult, Dep ¼ depression, ID ¼ intellectual
         disability; T2 ¼ Trial 2; Neuro/Psychiatric ¼ samples comprised of actual examinees evaluated for a neurocognitive or
         psychiatric disorder; all aggregated specificity values are derived from weighted means.



         Table 13. TOMM Trial 2 sensitivity at alternative cutoffs.
         Study                            Validity Classification         Sample               n        <50 <49 <48 <47 <46
         Etherton et al. (2005)           Simulator Pain            Undergraduate Students 20 0.95 0.95 0.95 0.95 0.95
         Greve et al. (2006a)             Slick Criteria            Toxic Exposure          33 0.61 0.61 0.58 0.55 0.55
         Greve et al. (2006b)             Multiple PVTs             TBI – Mild              30 0.77 0.7 0.53 0.47 0.4
         Greve et al. (2006b)             Slick Criteria            TBI – Moderate/Severe   11 0.73 0.55 0.55 0.55 0.55
         Haber and Fichtenberg (2006)     Single PVT                TBI – Moderate/Severe   17 0.88 0.82 0.82 0.76 0.76
         Greve et al. (2008)              Multiple PVTs             TBI – 63% Mild          27 –    0.70  –    –    –
         Greve et al. (2008)              Multiple PVTs             Chronic Pain            58 –    0.50  –    –    –
         Greve et al. (2009)              Slick Criteria            Chronic Pain           216 0.56 0.45 0.43 0.39 0.37
         Schroeder et al. (2013)          Slick Criteria            Mixed Forensic          26 0.77 0.65 0.62 0.50 0.50
         Jones (2013)                     Slick Criteria            Mixed Military         132 0.71 0.64  –    –    –
         Kulas et al. (2014)              Multiple PVTs             Mixed Clinical          12 0.67 0.50 0.50 0.42 0.42
         Smith et al. (2014)              Slick Criteria            Non-credible Low IQ     41 –    0.73  –    –    –
         Barhon et al. (2015)             Simulator                 Undergraduate Students 22 0.96 0.96 0.96 0.96 0.91
         Barhon et al. (2015)             Simulator                 Undergraduate Students 24 0.88 0.88 0.88 0.88 0.88
         Erdodi and Rai (2017)            Single PVT                TBI – 70% Mild          37 0.55 0.47 0.45 0.39 0.39
         Erdodi and Rai (2017)            Single PVT                Psychiatric             18 0.39 0.39 0.33 0.33 0.33
         All studies                                 –                          –           – 0.66 0.59 0.54 0.50 0.49
            Neuro/Psychiatric                        –                          –           – 0.72 0.63 0.60 0.54 0.52
            Simulators                               –                          –           – 0.91 0.91 0.91 0.91 0.89
            Chronic Pain                             –                          –           – 0.59 0.49 0.47 0.44 0.42
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; PVT ¼ performance validity testing; TBI ¼ traumatic
         brain injury; Neuro/Psychiatric ¼ samples comprised of actual examinees evaluated for a neurocognitive or psychiatric
         disorder; all aggregated sensitivity values are derived from weighted means.
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         Table 14. TOMM Retention specificity at alternative cutoffs.
         Study                     Validity Classification           Sample               n     <50     <49    <48     <47     <46
         Tombaugh (1997)           Controls                  Undergraduate Students       70    0.93    0.99   0.99    0.99    0.99
         Greve et al. (2006a)      Slick Criteria            Toxic exposure               12    0.83    0.92   1.00    1.00    1.00
         Greve et al. (2006b)      Slick Criteria            TBI – Mild                   46    0.80    0.91   0.98    0.98    1.00
         Greve et al. (2006b)      Slick Criteria            TBI – Moderate/Severe        33    0.70    0.85   0.85    0.91    0.91
         Iverson et al. (2007)     Research Volunteers       Fibromyalgia                 54      –      –       –     0.97      –
         Yanez et al. (2006)       Research Volunteers       Severe Depression            20     –      0.85   –       0.95    –
         Greve et al. (2008)       Multiple PVTs             TBI – 63% mild               43     –      0.91    –       –       –
         Greve et al. (2008)       Multiple PVTs             Chronic Pain                 42     –      0.93    –      –        –
         Greve et al. (2009)       Slick Criteria            Chronic Pain                118    0.86    0.99   0.99    1.00    1.00
         Vanderslice-Barr          Controls                  Undergraduate Students       48      –     1.00   1.00    1.00    1.00
            et al. (2011)
         Schroeder et al. (2013)   Slick Criteria            Mixed Forensic               36    0.86    0.92    0.97   0.97    0.97
         Jones (2013)              Slick Criteria            Mixed military               45    0.98    1.00    1.00   1.00    1.00
         Kulas et al. (2014)       Multiple PVTs             Mixed clinical               52    0.96    0.96    0.96   0.96    0.98
         Love et al. (2014)        Expert Opinion            ID – Mild                    21    0.81    1.00    1.00   1.00    1.00
         All studies                          –                          –                –     0.87    0.95    0.98   0.98    0.99
            Neuro/Psychiatric                 –                          –                –     0.87    0.93    0.97   0.97    0.98
            Healthy Controls                  –                          –                –     0.93    0.99    0.99   0.99    0.99
            Chronic Pain                      –                          –                –     0.86    0.99    0.99   1.00    1.00
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; PVT ¼ performance validity test; TBI ¼ traumatic brain
         injury; ID ¼ intellectual disability; Neuro/Psychiatric ¼ samples comprised of actual examinees evaluated for a neuro-
         cognitive or psychiatric disorder; all aggregated specificity values are derived from weighted means.


         Table 15. TOMM Retention sensitivity at alternative cutoffs.
         Study                     Validity Classification           Sample               n     <50     <49    <48     <47     <46
         Etherton et al. (2005)    Simulator Pain            Undergraduate Students       20    1.00    1.00    1.00   1.00    1.00
         Greve et al. (2006a)      Slick Criteria            Toxic Exposure               31    0.74    0.68    0.68   0.58    0.58
         Greve et al. (2006b)      Slick Criteria            TBI – Mild                   30    0.83    0.60    0.60   0.60    0.60
         Greve et al. (2006b)      Slick Criteria            TBI – Moderate/Severe        33    0.82    0.82    0.64   0.64    0.64
         Greve et al. (2008)       Multiple PVTs             TBI – 63% Mild               27     –      0.70     –      –       –
         Greve et al. (2008)       Multiple PVTs             Chronic Pain                 58     –      0.50     –      –       –
         Greve et al. (2009)       Slick Criteria            Chronic Pain                216    0.61    0.48    0.43   0.39    0.37
         Schroeder et al. (2013)   Slick Criteria            Mixed Forensic               26    0.81    0.77    0.73   0.58    0.58
         Jones (2013)              Slick Criteria            Mixed Military              132    0.75    0.70     –      –       –
         Kulas et al. (2014)       Multiple PVTs             Mixed Clinical               12    0.67    0.58    0.58   0.58    0.50
         All studies                          –                         –                 –     0.71    0.61    0.54   0.50    0.48
            Neuro/Psychiatric                 –                         –                 –     0.77    0.70    0.65   0.60    0.59
            Chronic Pain                      –                         –                 –     0.64    0.52    0.48   0.44    0.42
         Note: Slick Criteria ¼ Slick et al. (1999) criteria for malingering; TBI ¼ traumatic brain injury; Neuro/
         Psychiatric ¼ samples comprised of actual examinees evaluated for a neurocognitive or psychiatric disorder; all
         aggregated sensitivity values are derived from weighted means.


         and psychiatric samples. Retention sensitivity at the <49 cutoff was 0.61 and 0.65
         when examining all studies, improving to 0.70 and 0.69 when examining only neuro-
         cognitive and psychiatric samples. Significant heterogeneity was seen when examining
         sensitivity of Trial 2 and specificity of both Trial 2 and Retention when all studies were
         analyzed together at this alternative cutoff. Conversely, significant heterogeneity was
         not evident when examining the neurocognitive/psychiatric samples separately.


         Positive and negative predictive power
         Tables 16 and 17 provide the posterior probabilities, according to various pretest
         probabilities (base rates) of invalidity, that a TOMM failure is a true positive and that a
         TOMM pass is a true negative. Such likelihood statistics, also referred to as positive
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         Table 16. PPP for TOMM trials by base rates of invalidity.
                                                                                      PPP
                         Sensitivity       Specificity     10% BR      20% BR       30% BR       40% BR      50% BR
         Trial 1
            <41             0.66              0.93          0.51         0.70         0.80        0.86         0.90
            <42             0.69              0.91          0.46         0.66         0.77        0.84         0.88
         Trial 2
            <45             0.45              0.97          0.63         0.79         0.87        0.91         0.94
            <49             0.63              0.95          0.58         0.76         0.84        0.89         0.93
         Retention
            <45             0.55              0.98          0.75         0.87         0.92        0.95         0.97
            <49             0.70              0.93          0.53         0.71         0.81        0.87         0.91
         Note: Sensitivity and specificity values are based on weighted mean values of neurocognitive and psychiatric
         samples; PPP ¼ Positive Predictive Power; BR ¼ Base Rate.


         Table 17. NPP for TOMM trials by base rates of invalidity.
                                                                                      NPP
                         Sensitivity       Specificity     10% BR      20% BR       30% BR       40% BR      50% BR
         Trial 1
            <41             0.66              0.93          0.96         0.92         0.87        0.80         0.73
            <42             0.69              0.91          0.96         0.92         0.87        0.81         0.75
         Trial 2
            <45             0.45              0.97          0.94         0.88         0.81        0.73         0.64
            <49             0.63              0.95          0.96         0.91         0.86        0.79         0.72
         Retention
            <45             0.55              0.98          0.95         0.90         0.87        0.77         0.69
            <49             0.70              0.93          0.97         0.93         0.88        0.82         0.76
         Note: Sensitivity and specificity values are based on weighted mean values of neurocognitive and psychiatric
         samples. NPP ¼ Negative Predictive Power; BR ¼ Base Rate.


         predictive power (PPP) and negative predictive power (NPP), respectively, are
         influenced by sensitivity, specificity, and base rates of invalid performance. Regardless
         of the condition assessed (in this particular case, the condition would be test invalidity),
         PPP increases and NPP decreases as the condition becomes more prevalent. PPP and
         NPP are provided at both traditional and proposed alternative cutoffs for each of
         the TOMM trials with base rates ranging from 10% to 50%. As noted in Table 16, PPP
         (likelihood that a positive/failure is a true positive) is generally relatively low in settings
         where base rates of invalidity are low (e.g. clinical patients with no external incentive;
         Kemp et al., 2008). By contrast, PPP approaches 0.90, even with use of the more liberal
         alternative cutoffs, when invalidity approximates a base rate of 40%, which corresponds
         to estimates of invalidity base rates in forensic settings (Larrabee, 2003; Mittenberg,
         Patton, Canyock, & Condit, 2002). NPP (likelihood that a negative/pass is a true negative)
         generally exceeds 0.95 in low base rate settings, with likelihood for false negatives
         increasing in settings where invalid test performance is believed to be more prevalent.
         As would be expected, relatively more liberal alternative cutoff values are associated
         with a decreased likelihood for false-negative findings.

         Analysis of special groups
         Dementia
         In general, the extant neuropsychological literature shows that standard PVTs typically
         demonstrate unacceptably high false-positive rates in patients with dementia,
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         Table 18. TOMM specificity in dementia samples.
                                                                                                        Specificity
         Study                                                Sample                 n        Trial 1   Trial 2       Retention
         Tombaugh (1997)                              Dementia                      37         0.57      0.73           0.81
         Teichner and Wagner (2004)                   Dementia                      21         0.33      0.29           0.29
         Greve et al. (2006a)                         Memory disorder               22         0.86      0.82           0.77
         Merten et al. (2007)                         Alzheimer’s diagnosis         20          –        0.70           0.50
         Dean et al. (2009)                           Dementia                      20          –        0.45            –
         Bortnik, Horner, and Bachman (2013)          Dementia                     113          –        0.78            –
         Bortnik et al. (2013)                        Dementia                      40          –         –             0.40
         Walter, Morris, Swier-Vosnos,                Dementia                      31          –        0.79            –
            and Pliskin (2014)
         Total                                                                     408         0.65      0.70           0.65
         Note: Cutoff for Trial 1 < 40; Cutoff for Trial 2 < 45: Cutoff for Retention < 45.


         particularly when traditional cutoffs are employed (Boone, 2018; Dean, Victor, Boone,
         Philpott, & Hess, 2009; McGuire et al., 2019; Olsen, Schroeder, Heinrichs, & Martin,
         2018; Schroeder et al., 2012; Schroeder & Marshall, 2010). Because of this, samples
         comprised of patients with dementia were analyzed separately. TOMM performance in
         eight dementia samples across seven studies were identified, the results of which are
         provided in Table 18. Weighted mean specificity values were 0.70 or below across
         TOMM trials, at a cutoff of <45, with no single study finding false-positive rates to be
         less than 10%.


         Samples of examinees for whom English is not the primary language
         The appropriateness of using the TOMM with individuals for whom English is not the
         primary language has been studied in both patients residing within and outside of the
         United States. Identified studies are listed in Table 19 and include patient samples
         administered the TOMM in Spanish, Dutch, German, and English (bilingual patients
         who requested English instructions). As can be seen, TOMM Trial 2, at a cutoff of <45,
         yielded 0.90 specificity across 16 of the 19 validly performing samples. TOMM
         Retention, at a cutoff of <45, produced specificity within acceptable limits across each
         of the five valid performing samples in which TOMM Retention was administered.
         TOMM sensitivity ranged from 0.42 to 1.00 across samples.


         Discussion
         Evidence-based practice extends beyond the minimum expectation of incorporating
         research into practice (Bowden, 2017; Guyatt et al., 2015). Rather, it requires that prac-
         titioners seek the highest level of evidence to inform their clinical decisions, which
         often presupposes utilization of systematic reviews and meta-analyses. Similarly, EBM
         grading systems designed to appraise the quality of evidence behind a given clinical
         practice generally assign low ratings when evidence is limited to single primary stud-
         ies, with higher ratings reserved for practices supported by systematic reviews and
         meta-analyses. While the TOMM has been well researched by a number of primary
         studies, the current study is the first to systematically review and meta-analyze TOMM
         traditional and alternative cutoffs while following PRISMA guidelines.
Table 19. TOMM accuracy in examinees for whom English is not the primary language.
                                                                                                                                                                                             108




Study                                            Country – Language                    Sample                 Validity Class         n           Trial       Specificity       Sensitivity
Van Hout, Schmand, Wekking, Hageman,            Netherlands – Dutch            TE                            Single PVT Pass          82        T2/TR          0.96                –
   and Deelman (2003)
                                                                                                             Single PVT Fail          63        T2/TR            –                0.43
Merten, Bossink, and Schmand (2007)             Germany – German               CI – NCO                      No Incentive             24        T2              0.94               –
                                                                                                             No Incentive             24        TR              0.96               –
                                                Netherlands – Dutch            Elderly Controls              Controls                 14        T2              1.00               –
                                                                                                             Controls                 14        TR              1.00               –
       opez et al. (2007)
Vilar-L                                        Spain – Spanish                PCS                           No Litigation            12        T2              1.00               –
                                                                                                                                                                                             P. K. MARTIN ET AL.




                                                                                                             Litigation               14        T2               –                0.42
                                                                                                             Simulators               35        T2               –                0.86
       opez et al. (2008)
Vilar-L                                        Spain – Spanish                TBI mild                      Slick Criteria -         14        T2              0.81               –
                                                                                                             No Incentive             30        T2              1.00               –
                                                                                                             Slick Criteria þ         10        T2               –                1.00
                                                                               Research Volunteers           Simulators               54        T2               –                0.85
Jelicic, Ceunen, Peters, and                    Netherlands – Dutch            Research Volunteers           Controls                 60        T2              1.00               –
   Merckelbach (2011)
                                                                                                             Controls                 60        TR              1.00               –
                                                                                                             Controls                 60        T2/TR           1.00               –
                                                                                                             Simulators               30        T2               –                0.83
                                                                                                             Simulators               30        TR               –                0.88
                                                                                                             Simulators               30        T2/TR            –                0.92
Burton, Vilar-Lopez, and Puente (2012)         USA – Spanish                  Mixed Clinical                No Incentive             29        T2              0.93               –
Strutt et al. (2012)                            USA – Spanish                  TBI w/ Primary Edu            Slick Criteria -          5        T2              0.61               –
                                                                               TBI w/ Secondary Edu          Slick Criteria -         11        T2              0.91               –
                                                                               TBI                           Slick Criteria þ          4        T2               –                1.00
Nijdam-Jones et al. (2017)                      Argentina – Spanish            Research Volunteers           No Incentive            315        T2              1.00               –
                                                Bolivia – Spanish                                            No Incentive            262        T2              0.90               –
                                                Chile – Spanish                                              No Incentive            304        T2              0.94               –
                                                Colombia – Spanish                                           No Incentive           1380        T2              0.94               –
                                                Mexico – Spanish                                             No Incentive            545        T2              0.96               –
                                                Paraguay – Spanish                                           No Incentive            263        T2              0.76               –
                                                Peru – Spanish                                               No Incentive            238        T2              0.98               –
                                                USA/PR – Spanish                                             No Incentive            283        T2              0.98               –
Gasquoine, Weimer, and Amador (2017)            USA – Bilingual Spanish                                      No Incentive             61        T2/TR           0.97               –
Notes: TE ¼ Toxic Encephalopathy, CI – NCO ¼ Cognitive impairment, not clinically obvious, TBI ¼ Traumatic brain injury, PCS ¼ Post-concussive syndrome, USA ¼ United States of
America, PR ¼ Puerto Rico, T2 ¼ TOMM Trial 2, TR ¼ TOMM retention trial, T2/R ¼ Trial 2 and Retention, PVT ¼ performance validity test, Slick Criteria –¼Slick et al. (1999) criteria for
malingering not met, Slick Criteria þ ¼Slick et al. (1999) criteria for malingering met.
                                                                                                                                                                                                                   Case 2:23-cr-00047-JLS Document 123 Filed 08/31/23 Page 157 of 184 Page ID #:2203
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             When results from all primary studies were pooled, findings for many TOMM valid-
         ity indicators demonstrated significant between-sample heterogeneity. This indicates
         that the individual studies comprising the meta-analytic findings differed to such a
         degree that the pooled effect estimate did not accurately represent all included stud-
         ies. Thus, the authors managed the heterogeneity by conducting subgroup analyses
         separating neurocognitive/psychiatric examinee samples from simulator/control and
         chronic pain samples. In doing so, the results were generally absent of statistically
         significant heterogeneity.
             In addition to generally lacking statistically significant heterogeneity, neurocogni-
         tive/psychiatric samples consist of real-world neuropsychological examinees represen-
         tative of those individuals evaluated in actual practice. For both of these reasons, the
         neurocognitive/psychiatric subgroup results can be viewed as offering more precise
         and generalizable estimates of actual TOMM sensitivity and specificity than those data
         derived from all of the studies pooled without consideration of study methodology or
         population. Examination of sample heterogeneity and subgroup analyses findings thus
         represent a significant strength of the study, as past studies aggregating TOMM data
         did not take such steps, thereby limiting external validity of the findings. Regarding
         results of the neurocognitive/psychiatric subgroup, traditional TOMM Trial 2 and
         Retention cutoffs demonstrated very strong specificity (i.e. 0.96–0.99), with specificity
         exceeding thresholds of acceptability across diagnostic subgroups, excepting patients
         with dementia. TOMM sensitivity was relatively lower, though, ranging from 0.45 to
         0.55 when using conventional cutoff values.
             Given the disparity between TOMM sensitivity and specificity and the promising
         results from primary studies that advocate for use of alternative TOMM interpretive
         methods (e.g. Greve et al., 2006a), the current authors examined the accuracy of Trial
         1, as well as less conservative cutoffs for Trial 2 and Retention. The results of these
         analyses provide the first meta-analytic evidence that TOMM interpretation can be
         adapted to improve TOMM sensitivity while maintaining adequate specificity. A cutoff
         of <49 on both Trial 2 and Retention demonstrated 90% specificity when examining
         neurocognitive and psychiatric examinee samples, overall, and improved sensitivity
         notably for both Trial 2 and Retention (i.e. 0.62–0.70). Similarly, Trial 1 maintained spe-
         cificity at 0.90, both at the previously recommended cutoff of <41 (Denning, 2012),
         as well as at a less conservative cutoff of <42. The Trial 1 cutoff of <42 demonstrated
         greater sensitivity than traditional Trial 2 and Retention cutoffs, and it demonstrated
         comparable sensitivity to the alternative Retention cutoff.
             The relatively fewer number of studies reporting data for the alternative interpretive
         approaches precluded formal analysis of specific diagnostic subgroups outside of the
         aggregated neurocognitive/psychiatric group. That being said, specificity fell below
         90% for Trial 2 and Retention at a cutoff of <49 in samples of patients with moder-
         ate/severe TBI and severe depression (Greve et al., 2006a; Yanez et al., 2006) and for
         Trial 1 at a cutoff of <42 in a sample of patients with moderate/severe TBI (Greve
         et al., 2006a; of note, individuals with severe depression were not examined at the
         Trial 1 cutoff of <42). Therefore, future researchers examining individuals with moder-
         ate/severe TBI and severe depression, as well as other populations expected to have
         similar levels of dysfunction, are encouraged to determine the appropriateness of
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         applying these revised and more stringent cutoffs to individuals with severe cognitive
         or psychiatric dysfunction.
             0Overall, these results establish the facts that 1) the TOMM is highly specific when
         interpreted per originally published traditional cutoffs and 2) TOMM specificity can be
         safely maintained by interpreting Trial 1 and less conservative Trial 2 or Retention cut-
         offs in individuals not suspected of significant cognitive or psychiatric impairment. Trial
         2 or Retention scores of <45 should be interpreted as invalid across most settings and
         diagnostic populations, and scores of <49 should be interpreted as invalid in cases
         where significant impairment is not expected, such as mTBI. Examiners should consider
         the impact of base rates on PPP and NPP when considering test scores of the individual
         examinee, realizing that the likelihood for false-positive error decreases in settings with
         higher rates of invalidity. Juxtaposed, these points illustrate that, particularly in forensic
         settings where base rates of invalidity approximate 40%–50% (Ardolf, Denney, &
         Houston, 2007; Larrabee, 2003; Mittenberg et al., 2002), TOMM Trial 2 or Retention per-
         formances of <49 in an examinee with a mTBI or injury/illness of equivalent expected
         cognitive impact should be interpreted as invalid with a high degree of confidence.
             The current study is the second meta-analysis of TOMM Trial 2 performance and
         the first published since that of Sollman and Berry (2011). In comparison with Sollman
         and Berry’s findings, the current study discovered Trial 2 to yield similar specificity.
         That is, the current study found specificity to be 0.97 and 0.96 in all samples and neu-
         rocognitive/psychiatric samples, respectively, and Sollman and Berry found Trial 2 to
         achieve 0.94 specificity across all samples. However, whereas Sollman and Berry report
         Trial 2 sensitivity to be 0.65, the current study found sensitivity to be 0.56 when exam-
         ining known groups and simulator/control studies collectively, but only 0.46 when
         examining actual neurocognitive/psychiatric groups individually.
             Differences in sensitivity values between the current results and those published by
         Sollman and Berry (2011) might be due to a combination of factors. First, studies
         included in the current study, while overlapping, differ from those included by
         Sollman and Berry. Specifically, 22 studies overall were examined in the previous
         meta-analysis, whereas the current study included data from 43 studies. Broken down
         further, of the 21 Trial 2 studies aggregated for classification accuracy by Sollman and
         Berry, 57% (12/21) were included in the present analyses. The nine studies not
         included in the present study were excluded due to being dissertations not published
         in a peer-reviewed journal (n ¼ 6), not being identified by the current study search cri-
         teria (n ¼ 2), or not having data reported within the article that would allow for calcu-
         lation of accuracy statistics (n ¼ 1). Two of the 12 Sollman and Berry articles included
         in the present study were included in the combined Trial 2 and Retention analyses in
         the current paper as these studies did not report accuracy statistics separately for Trial
         2 and Retention. Of the 43 studies included in the analysis of Trial 2 sensitivity and/or
         specificity in the current study, 77% (33/43) were new to the current analyses. Studies
         included in the present study that were not included in Sollman and Berry’s study
         seemingly were excluded from the latter due to either 1) articles being published after
         that author group’s search date or 2) articles only presenting sensitivity or specificity
         data (not both), which was exclusionary for the earlier study but not for the
         present study.
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            A second factor potentially explaining sensitivity differences between the current
         results and those of Sollman and Berry (2011) is the difference in aggregation of study
         designs within the meta-analyses. In the current meta-analysis, the authors used separ-
         ate analyses of neurocognitive/psychiatric examinees subjected to external criterion
         (known groups) and simulator/control samples, while Sollman and Berry aggregated
         both of these study designs together. When examining only simulator/control samples,
         weighted mean sensitivity of Trial 2 in the current study was 0.66, which is nearly
         identical to the sensitivity of Trial 2 found by Sollman and Berry (i.e. 0.65). By contrast,
         sensitivity of Trial 2 in the current study was 0.46 at traditional cutoffs when examin-
         ing only known groups. While Sollman and Berry found the effect sizes in PVT per-
         formance, overall, to not significantly differ between simulator/control studies
         involving healthy research participants and known-groups designs using real patients,
         there was a notable difference in TOMM sensitivity according to which of these meth-
         odologies was employed (i.e. 0.68 vs. 0.55). This is consistent with previous findings
         that simulated malingerers perform worse than actual malingerers on the TOMM
         (Brennan & Gouvier, 2006) as well as findings from the current study demonstrating
         that studies of simulated neurocognitive disorder find higher sensitivity values than
         known-groups designs of neurocognitive/psychiatric samples. Therefore, TOMM classifi-
         cation accuracy, especially test sensitivity, appears to vary according to use of simula-
         tor/control versus known-groups approaches, which further helps to explain why Trial
         2 sensitivity reported by Sollman and Berry was higher than that found in our examin-
         ation of neurocognitive/psychiatric patients.
            Another important aspect of the current study is that it systematically reviewed pri-
         mary studies examining TOMM performance in special populations: individuals with
         dementia and individuals for whom English is not the primary language. In patients
         with dementia, the findings are consistent with the general PVT literature (Boone,
         2018; Dean et al., 2009; McGuire et al., 2019; Schroeder et al., 2012) by demonstrating
         unacceptably high false-positive rates and indicating that traditional TOMM cutoffs
         should not be interpreted in individuals with suspected or confirmed dementia.
         Conversely, the reviewed literature indicates that the TOMM is adequately specific
         across most samples of examinees whose primary language is not English, even when
         residing outside of the United States. Of note, in the largest study of TOMM perform-
         ance in non-English-speaking examinees (Nijdam-Jones et al., 2017), specificity was
         generally at, or, in many cases, well-above 90% across Latin American countries; the
         only exception was that TOMM Trial 2 yielded a 24% false-positive rate in examinees
         from Paraguay. Nijdam-Jones and colleagues further found that TOMM performance
         correlated with age and education, and noted that the magnitude of the correlations
         varied according to Latin American country, being particularly strong in examinees
         from Paraguay. Similarly, in a much smaller sample of examinees, Strutt, Scott, Lozano,
         Tieu, and Peery (2012) found high specificity in Spanish speakers who completed sec-
         ondary education, but an unacceptably high false-positive rate in those with only a
         primary level of education. Results from both studies suggest that cohort-specific
         factors uniquely associated with age or very low education in certain non-English-
         speaking examinee groups likely account for the findings given that they are not
         replicated in English-speaking populations. Overall, while these factors require
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         consideration, the reviewed studies support the use of traditional TOMM cutoffs in the
         majority of individuals administered the TOMM in a language other than English.
         At the same time, ongoing research to collect further country- and language-specific
         normative data and to investigate the influence of potential moderating factors in
         non-English-speaking examinees would be beneficial.
             An important limitation, which can also be viewed as a potential strength of the
         study, is that the authors excluded non-peer-reviewed studies. Such a practice
         increases the risk of omitting samples with less positive results, possibly resulting in
         publication bias (Guyatt et al., 2015). At the same time, unpublished studies were not
         included in our review for several reasons. First, when examined empirically, including
         unpublished studies or “grey literature” in meta-analyses generally has a negligible
         impact regarding study findings (Hartling et al., 2017; Schmucker et al., 2017). Second,
         publication bias, or “the file drawer problem,” might be of particular concern in inter-
         vention/therapy studies given that negative or non-significant findings might be less
         likely published than those demonstrating an intervention to be effective. However,
         given that studies of the TOMM examine diagnostic accuracy statistics, which cannot
         yield a non-significant result, such a threat was believed minimal. If anything, studies
         with TOMM accuracy statistics discrepant from traditional findings might actually be of
         greater interest to research consumers. Third, as opposed to intervention/therapy stud-
         ies that are frequently sponsored or written by the producer of the therapy agent,
         only one of the articles identified by the systematic review included authors personally
         associated with the TOMM (i.e. Tombaugh, 1997). Thus, the literature base would not
         seem highly susceptible to promulgating certain findings and suppressing others.
             While the authors believed that inclusion of unpublished studies would yield little
         benefit in reducing bias, they believed that including these studies would potentially
         be harmful by increasing the possibility of bias by two different processes. First, when
         including unpublished studies, those that are located may be unrepresentative of the
         total body of unpublished studies on a topic (Higgins & Green, 2008), resulting in a
         selection bias. Second, unpublished studies are not subject to peer review and may be
         of lower methodological quality. For example, Egger, Juni, Bartlett, Holenstein, and
         Sterne (2003) found that unpublished studies were often of lower quality than pub-
         lished studies. Specifically, the authors found in their review of 60 meta-analyses of
         clinical trials, allocation concealment and binding of outcome assessor were better in
         published versus unpublished studies. Given that inclusion of unpublished studies
         could potentially increase rather than decrease potential bias, the authors determined
         a priori to include only published studies in this systematic review.
             Finally, given that approximately 15 months had elapsed from the initial search to
         submission of the current article, a second literature search was conducted at the time
         of peer review using PsychINFO database. Two additional articles were identified after
         applying study selection criteria (i.e. Kanser, Rapport, Bashem, & Hanks, 2019; Oudman
         et al., 2019). Kanser et al. found TOMM Trial 2 specificity to be 1.00 in healthy controls
         (n ¼ 61) and 0.98 in TBI patients (n ¼ 45), and sensitivity to be 0.73 in simulators
         (n ¼ 45). Oudman et al. found Trial 2 specificity to be 1.00 in a group of healthy con-
         trols (n ¼ 20). Given the relatively small sizes of the samples used in these two articles
         and the concordance between the study findings and the results of this meta-analysis,
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         inclusion of the studies would not be anticipated to have any impactful bearing on
         the results of the meta-analysis. Therefore, a revision of the data analyses, which
         would require deviation from a priori established procedures, was not conducted.


         Conclusions
         In conclusion, the current study reports several findings that will aide clinicians in the
         interpretation of the TOMM. First, a cutoff of <42 on Trial 1 appears to be most
         appropriate as it optimizes test sensitivity while maintaining greater than 0.90 specifi-
         city across studies, overall. Second, traditional cutoffs (<45) on Trial 2 and Retention
         are associated with very high specificity, but at the sacrifice of test sensitivity. Third,
         TOMM Trial 2 or Retention performances of <49 can be interpreted as invalid with a
         high degree of confidence when evaluating individuals not suspected of severe
         impairment in settings with higher base rates of invalidity, and, consequently, higher
         PPP (e.g. forensic settings).


         Disclosure statement
         No potential conflict of interest was reported by the authors.


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                     EXHIBIT 28
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    Cross-validation of the Dot Counting Test in a
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    Courtney McCaul, Kyle B. Boone, Annette Ermshar, Maria Cottingham, Tara
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          Cross-validation of the Dot Counting Test in a large
          sample of credible and non-credible patients referred for
          neuropsychological testing
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              ABSTRACT                                                                        ARTICLE HISTORY
              Objective: To cross-validate the Dot Counting Test in a large                   Received 8 May 2017
              neuropsychological sample. Method: Dot Counting Test scores                     Accepted 3 January 2018
              were compared in credible (n = 142) and non-credible (n = 335)
                                                                                              KEYWORDS
              neuropsychology referrals. Results: Non-credible patients scored                Dot Counting Test;
              significantly higher than credible patients on all Dot Counting Test            Performance Validity;
              scores. While the original E-score cut-off of ≥17 achieved excellent            non-credible performance;
              specificity (96.5%), it was associated with mediocre sensitivity (52.8%).       freestanding performance
              However, the cut-off could be substantially lowered to ≥13.80, while            validity test
              still maintaining adequate specificity (≥90%), and raising sensitivity
              to 70.0%. Examination of non-credible subgroups revealed that
              Dot Counting Test sensitivity in feigned mild traumatic brain injury
              (mTBI) was 55.8%, whereas sensitivity was 90.6% in patients with non-
              credible cognitive dysfunction in the context of claimed psychosis,
              and 81.0% in patients with non-credible cognitive performance in
              depression or severe TBI. Thus, the Dot Counting Test may have a
              particular role in detection of non-credible cognitive symptoms in
              claimed psychiatric disorders. Alternative to use of the E-score, failure
              on ≥1 cut-offs applied to individual Dot Counting Test scores (≥6.0″
              for mean grouped dot counting time, ≥10.0″ for mean ungrouped
              dot counting time, and ≥4 errors), occurred in 11.3% of the credible
              sample, while nearly two-thirds (63.6%) of the non-credible sample
              failed one of more of these cut-offs. Conclusions: An E-score cut-off
              of 13.80, or failure on ≥1 individual score cut-offs, resulted in few
              false positive identifications in credible patients, and achieved high
              sensitivity (64.0–70.0%), and therefore appear appropriate for use in
              identifying neurocognitive performance invalidity.



          The Dot Counting Test (Boone, Lu, & Herzberg, 2002) incorporates overlearned rapid counting
          skills that are preserved in all but the most severe traumatic brain injuries. Boone and col-
          leagues examined effectiveness of the Dot Counting Test in a sample of 100 non-credible
          individuals (86 from personal injury cases and 14 from a prison population) and 249 credible

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          participants (who presented with psychosis, learning disabilities, depression, mild dementia,
          moderate dementia, moderate to severe traumatic brain injury receiving outpatient rehab
          services, left and right stroke receiving outpatient rehab services, and older age). Using an
          all-purpose cut-off ≥17, every group showed specificity of over 90% with the exception of
          the stroke and moderate dementia groups (50–68% specificity), and sensitivity was 71.8%
          in civil compensation-seekers and 100% in a criminal forensic setting. Examination of indi-
          vidual subgroups suggested that cut-offs can be adjusted for specific differential diagnoses
          (e.g. a cut-off of ≥14 achieved adequate specificity in credible depressed samples indicat-
          ing that scores beyond this cut-off could be used to identify non-credible cognitive pres-
          entations in the context of claimed depression). These results suggested that the Dot
          Counting Test is an effective measure of performance validity in criminal forensic and civil
          compensation-seeking contexts.
              Marshall and Happe (2007) investigated the false positive rates on various PVTs in a sample
          of 100 individuals with mental retardation. Only 21% passed the Dot Counting Test using
          the E-score cut-off of 17, leading the authors to conclude that the Dot Counting Test is
          inappropriate for use in a population with intellectual disability. In a subsequent study (Smith
          et al., 2014) of credible subjects with low intelligence (FSIQ ≤ 75; n = 55), Dot Counting Test
          specificity using a cut-off of ≥17 was only 55.8%; the cut-off had to be adjusted to ≥30 to
          maintain at least 90% specificity, but sensitivity was only 18% in a sample of 71 non-credible
          individuals thought to be feigning low IQ. Thus, these two studies suggest that utility of the
          Dot Counting Test is limited in the differential of actual versus feigned low IQ.
              Dean, Victor, Boone, Philpott, and Hess (2009) examined false positive rates for various
          PVTs in a dementia population, and reported that using the Dot Counting Test cut-off of 17,
          specificity was only 50%. When the sample was divided into mild dementia (MMSE > 20),
          mild to moderate dementia (MMSE = 15–20), and moderate to severe dementia (MMSE < 15),
          specificity of the E-score cut-off of 17 was 77%, 44%, and 8%, respectively. The cut-off had
          to be raised to 42 to maintain at least 90% specificity in the sample; sensitivity of this cut-off
          in feigned dementia was not studied but is likely low. Thus, as with samples with low intel-
          ligence described above, the Dot Counting Test may have limited usefulness in discriminating
          actual versus feigned dementia.
              Vilar-Lopez et al. (2008), conducting research in Spain, provided one of the first cross-cul-
          tural studies of the effectiveness of the Dot Counting Test. Their Spanish speaking mild
          traumatic brain injury (TBI) sample included 30 non-compensation seekers, 14 compensation
          seekers judged not to be malingering, and 10 suspected malingerers, as well as 54 non-TBI
          control subjects. E-score specificity rates for a cut-off of ≥17 were adequate (≥90%) in the
          first two groups, but sensitivity was only 40–48%. Burton, Vilar-Lopez, and Puente (2012)
          further examined Dot Counting Test performance in Spanish-speaking populations in the
          United States (28 subjects convicted of capital murder, 25 subjects in other forensic popu-
          lations, and 29 clinical controls). Specificity in controls was adequate (92.9%), with failure
          rates of 25–40% in the forensic samples using an E-score cut-off of ≥17. Finally, in a sample
          of 115 Mexican laborers tested in either Mexico or Los Angeles, and with lowered educational
          levels (0–10 years), no adjustment to the Dot Counting Test E-score cut-off of ≥17 was nec-
          essary to maintain specificity of at least 90% (Robles, López, Salazar, Boone, & Glaser, 2015).
          In fact the cut-off could be lowered to ≥14 in the group with 6–10 years of education, and
          to ≥16 in those with 0–6 years of education, and still limit false positive rates to <10%. Thus,
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          the Dot Counting Test, using the recommended E-score cut-off ≥17 or even lower, appears
          appropriate for use in Spanish-speakers and in test takers with low educational level.
              In contrast, Weiss and Rosenfeld (2010) examined the Dot Counting Test in a sample of
          105 Sikh Indians engaged in civil lawsuits for claimed post-traumatic stress disorder. The
          authors were concerned that only a 41% specificity rate was found for the E-score cut-off of
          17, and that even with a cut-score of 22, specificity was only 63%. However, they failed to
          consider that given the compensation-seeking setting, some subjects were in fact not per-
          forming to true ability, which would result in lowered specificity rates. That is, if test takers
          who do not perform to true skill level on the Dot Counting Test are included in ‘credible’
          clinical comparison samples, when standard cut-offs are applied to these groups, false pos-
          itives rates are elevated, which translates into lower specificity.
              Very recently, Soble et al. (2017) reported Dot Counting Test data collected in a mixed
          clinical veteran sample (n = 77). The E-score cut-off of 17 achieved 91% specificity and 55%
          sensitivity, but the authors suggest that the optimal cut-off was 15 (88% specificity; 70%
          sensitivity). These data raise the suggestion that Dot Counting Test sensitivity may have
          declined since the original validation study in 2002, but that higher levels of sensitivity may
          be achieved if the E-score cut-off is adjusted.
              In conclusion, available data suggest that the Dot Counting Test is an effective perfor-
          mance validity instrument with low false positive rates, even in non-English-speakers and
          in individuals of low educational level, with the exception of individuals of low intelligence
          and dementia. However, the original validation study was published in 2002 and a recent
          cross-validation study suggested that sensitivity rates may have declined, but that a lowering
          of the E-score cut-off maybe a viable option to maintain test sensitivity at high levels.
          Additional cross-validation studies are required to determine whether the original Dot
          Counting E-score cut-off of 17 remains valid and recommended, or if the cut-off can and
          should be adjusted. In the current study, archival data on the Dot Counting Test obtained
          on neuropsychology patients between 2001 and 2016 were examined to address this issue.


          Methods
          Participants
          De-identified archival data were accessed from outpatients seen for neuropsychological
          assessment at the Neuropsychology Service at Harbor-UCLA Medical Center and patients
          tested in the private forensic practice of the second author. Patients evaluated in the former
          setting were referred by treating mental health professionals or neurologists or other phy-
          sicians for diagnostic clarification, case management, and/or determination of appropriate-
          ness for disability compensation. Patients tested in the private practice of the second author
          were either evaluated in the context of litigation or at the request of private disability carriers.
          All patients were fluent in English. No patient data used in the original 2002 validation study
          were retained in the current data-set. Use of the archival data was approved by the
          Institutional Review Board at Alliant International University, and the Institutional Review
          Board at LABioMed at Harbor-UCLA Medical Center. Patients were assigned to credible and
          non-credible groups according to procedures described below. All credible patient data
          were obtained from the Harbor-UCLA database, and non-credible patient data were accessed
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          in approximately equal percentages from the Harbor-UCLA database and the private forensic
          practice.

          Credible patients
          The 142 subjects assigned to the credible group met the following criteria: (a) no motive to
          feign symptoms (not in litigation or attempting to secure disability compensation), (b) failure
          on one or fewer PVTs out of a total of up to nine administered (listed with cut-offs in Table
          1; note: scores from the same test were counted as a single failure), and (c) no FSIQ < 80 or
          dementia/amnestic disorder diagnoses. A tabulation of diagnoses is reproduced in Table 2.
              The nine PVTs used for group assignment were selected to sample a variety of neurocog-
          nitive domains, including processing speed, attention, visual perception, verbal memory,
          visual memory, and motor dexterity, to insure that differing types of neurocognitive symptom
          feigning were assessed. Our lab has preferred to use the Warrington as the forced choice
          PVT given that its sensitivity rates are higher than those reported for the Test of Memory
          Malingering (TOMM) and Word Memory Test (WMT) in a civil compensation-seeking popu-
          lation (see M. S. Kim et al., 2010, for Warrington sensitivity data; see Greve, Ord, Curtis,
          Bianchini, & Brennan, 2008, for TOMM and WMT sensitivity data). Patients who failed a single
          PVT were retained in the credible sample given evidence that failure on a single PVT is not
          unusual in credible populations (Victor, Boone, Serpa, Buehler, & Ziegler, 2009), and that the
          expected number of PVT failures in credible patients when nine are administered is one
          (Davis & Millis, 2014). It was judged that exclusion of patients with no motive to feign and


          Table 1. PVTs used for group assignment, and numbers of patients completing each PVT.
          Attention
             Digit Span (Babikian, Boone, Lu, & Arnold, 2006)
            ACSS ≤ 5 (142 credible; 323 noncredible),
            RDS ≤ 6 (142 credible; 329 noncredible),
             3-digit time > 2″ (118 credible; 306 noncredible), or
             4-digit time > 4″ (98 credible; 272 noncredible)
          Visual memory
           Rey Osterrieth Effort Equation (Reedy et al., 2013)
             ≤50 (130 credible; 289 noncredible)
             Digit Symbol recognition equation (N. Kim et al., 2010)
             ≤57 (113 credible; 239 noncredible)
          Verbal memory
           Rey Auditory Verbal Learning Test (Boone et al., 2005; Sherman, Boone, Lu, & Razani, 2002)
            Effort Equation ≤ 12 (123 credible; 298 noncredible), or
            RAVLT/RO discriminant function ≤ −.40 (123 credible; 294 noncredible)
             Warrington Recognition Memory Test – Words (M. S. Kim et al., 2010)
             Total ≤ 42 (115 credible; 286 noncredible)
             Time ≥ 207″ (101 credible; 264 noncredible)
          Visual perception
           Picture Completion Most Discrepant Index (Solomon et al., 2010)
             ≤2 (102 credible; 275 noncredible)
          Processing speed
             Comalli Stroop (Arentsen et al., 2013)
            A (Word Reading) ≥ 66″ (139 credible; 113 noncredible)
             B (Color Naming) ≥ 93″ (139 credible; 115 noncredible)
             b Test (Roberson et al., 2013)
            E-score ≥ 82 (94 credible; 289 noncredible)
          Motor dexterity
             Finger Tapping (dominant) (Arnold et al., 2005)
             Men ≤ 35 (72 credible; 176 noncredible)
             Women ≤ 28 (60 credible; 126 noncredible)
          Note: Failures on multiple cut-offs from a single test were counted as a single failure.
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          Table 2. Tabulation of primary presenting diagnoses in credible and non-credible groups.
                                                                Credible                  Noncredible
                                                                (n = 142)                   (n = 335)
          Anoxia                                                     5                          11
          Anxiety/panic disorder                                     3                           4
          Aspberger’s syndrome                                       1                          –
          Attention deficit disorder                                 6                           1
          Bipolar disorder                                           5                          –
          Brain infection                                           –                            3
          Brain tumor                                                3                           2
          Chronic fatigue                                           –                            2
          Chronic pain                                              –                            7
          Cognitive disorder NOS                                     5                           6
          Depressive disorder                                       27                          21
          Dementia                                                  –                            6
          Electrocution                                             –                            3
          Epilepsy                                                  11                           8
          HIV/AIDs                                                   3                           1
          Klinefelter syndrome                                       2                          –
          Learning disability                                       17                          14
          Lupus                                                     –                            1
          Mental retardation                                        –                            5
          Mild cognitive impairment                                  1                          –
          Multiple sclerosis                                         1                          –
          Neurofibromatosis                                         –                            1
          Obsessive compulsive disorder                              1                          –
          Psychotic disorder                                        12                          32
          PTSD                                                       1                          4
          Somatoform disorder                                       18                          1
          Stroke/aneurysm/hematoma                                   3                          18
          Substance Abuse                                            9                          4
          Syncopal episodes                                         –                           1
          Toxic exposure                                            –                           8
          Traumatic brain injury
             Mild                                                  1                           138
             Moderate                                              2                            12
           Severe                                                  5                            21



          who failed a single PVT might be problematic because they likely have more actual cognitive
          dysfunction (leading to the PVT failure), and removal of these individuals could result in a
          spurious raising of Dot Counting Test specificity rates. To more thoroughly evaluate the
          impact of retention of credible patients with a single PVT failure on study results, those failing
          versus not failing a single PVT were compared on Dot Counting Test scores (these analyses
          are discussed in the Results section below).
             Individuals with dementia diagnoses, amnestic disorder, and IQ < 80 were excluded given
          evidence that individuals with these conditions demonstrate a high failure rate on PVTs
          despite performing to true ability. Dean et al. (2009) found that dementia patients with
          MMSE scores > 20 failed an average of 36% of PVTs administered, while those with MMSE
          15–20 failed an average of 47%, and patients with MMSE scores < 15 failed 83% of admin-
          istered PVTs. Individuals with IQs within the borderline range (70–79) have been found to
          exceed cut-offs on 17% of PVTs administered, while individuals with IQs between 60 and 69
          have been reported to fail 44% of PVTs; in contrast, in low average to superior IQ groups,
          ≤8% of PVTs administered are failed (Dean, Victor, Boone, & Arnold, 2008). Much stronger
          correlations have in fact been documented between low IQ and PVT scores than is found at
          higher IQ levels (Keary et al., 2013).
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          Non-credible patients
          The 335 subjects assigned to the non-credible group met the following criteria: (a) motive
          to feign symptoms (in litigation or attempting to secure disability compensation), (b) failure
          on at least two independent performance validity tests (PVTs; listed with cut-offs in Table
          1), and (c) evidence that low cognitive scores were inconsistent with normal function in
          activities of daily living. A listing of frequency of claimed diagnoses is shown in Table 2.
              It is critical to identify and exclude from non-credible groups any truly low functioning
          individuals who fail PVTs due to actual neurologic or developmental conditions rather than
          a failure to perform to true ability (e.g. dementia/amnestic disorder or FSIQ < 80). IQ data
          and memory scores cannot not be used for this purpose given research showing that
          non-credible subjects obtain spuriously lowered neurocognitive and IQ scores (e.g. Boone,
          Lu, & Wen, 2005; Demakis et al., 2001); that is, neurocognitive/intellectual scores are not
          accurate indicators of function in this population. The approach we used to confirm appro-
          priateness of assignment to the non-credible group was by checking for a mismatch between
          low cognitive scores and evidence of normal function in ADLs (e.g. dementia-level memory
          scores but was able to live independently, work, drive, handle his or her own finances). If
          such a mismatch was present, the participant was retained in the non-credible group. In
          contrast, if individuals had independently verifiable evidence of low cognitive function that
          could account for their PVT failure (e.g. not able to live independently, had never held
          employment or been able to drive, had a guardian or conservator), they were excluded from
          the non-credible group.


          Procedures
          All subjects were administered the Dot Counting Test according to published procedures
          (Boone et al., 2002) as part of a neuropsychological assessment. The PVTs used in the current
          study were not administered in a particular order. Given that these were clinical evaluations,
          for various reasons particular PVTs might not have been administered to specific patients,
          but most patients completed nearly all of the PVTs; the number of patients in each group
          completing each PVT is reported in Table 1.
             Scores used for analysis included the E-score, as well as the individual scores that comprise
          the E-score. The E-score was calculated by summing mean grouped dot counting time + mean
          ungrouped dot counting time + number of errors, without use of the rounding procedure
          specified in the manual (the rounding procedure provided no benefit and its use resulted
          in a slightly higher E-score cut-off, thereby reducing test sensitivity to a minor degree).


          Results
          Group comparisons on test scores were computed using independent t-tests, and confirmed
          with non-parametric analyses (Mann–Whitney U), due to the positive skewness of all test
          scores in both groups. Comparisons on demographic variables were computed either with
          independent t-tests or chi-square. To control for multiple comparisons, a p-value of <.01 was
          employed for determination of statistical significance on both test scores and demographic
          variables.
             As shown in Table 3, credible and non-credible groups did not significantly differ in age,
          educational level, gender distribution, or language status, but did somewhat differ in ethnic
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          Table 3. Means, SDs, and ranges or distributions, and group comparison data for demographic variables
          and dot counting scores.
                                                Credible            Noncredible
                                                 (n = 142)             (n = 335)           t/X2            p           d
          Age                                  42.04 ± 14.03         45.01 ± 12.22        −2.32          .021          .21
                                                  (17–75)               (17–77)
          Education                             13.33 ± 3.49          12.82 ± 2.90          1.66         .097          .15
                                                   (0–20)                (0–21)
          Gender                                 73 m/64f             190 m/142f            5.54         .136          .11**
                                              (53.3%/46.7%)         (57.2%/42.8%)
          Ethnicity                                                                        17.01*        .002          .19**
            Caucasian                           75 (52.3%)           138 (41.6%)
           Hispanic                             31 (21.8%)            71 (21.4%)
           African American                     15 (10.6%)            88 (26.5%)
           Asian                                 10 (7.0%)             12 (3.6%)
            Middle Eastern                        7 (4.9%)             16 (4.8%)
           Native American                        2 (1.4%)              3 (.9%)
           Other                                  2 (1.4%)              2 (.6%)
          Language                                                                         10.68         .014          .15**
           English as first                    108 (76.6%)           251 (75.4%)
           English as second                    23 (16.3%)            76 (22.8%)
             Both learned together               10 (7.1%)             6 (1.8%)
          Dot counting
           E-score                             10.91 ± 5.93         20.07 ± 11.70         −8.86          .0001        1.55
            Range                              (4.40–69.20)           (5.5–86.0)
             Mean grouped time                  2.87 ± 2.81          6.98 ± 5.41          −8.59          .0001        1.46
            Range                              (1.00–32.50)         (1.00–39.80)
             Mean ungrouped time                6.88 ± 3.16          10.63 ± 5.80         −7.21          .0001        1.19
            Range                              (3.20–34.70)         (3.00–43.20)
           Errors                               1.16 ± 1.15           2.46 ± 2.47         −5.98          .0001        1.13
            Range                                  (0–5)                (0–12)
          Notes: SD = standard deviation; m = male; f = female; d = effect size.
          Missing data: Gender = 5 credible, 3 noncredible; Ethnicity = 3 noncredible; Language = 1 credible, 2 noncredible.
          *
           Native American and ‘other’ categories were not included in chi-square analyses due to inadequate cell sizes; **Phi;
            .1 = small effect size; .3 = medium effect size; .5 = large effect size.



          distribution, although the effect size was small. In the credible group, men, and women were
          not significantly different on Dot Counting Test scores (t’s ≤ .968. p ≥ .335); in the non-credible
          group, no differences were observed between men and women (t’s ≤ .767, p ≥ .444) with
          the exception that men committed significantly more errors (t = 2.740, p = .006), although
          the difference was minor (2.03 vs. 2.77).
              As reproduced in Table 3, credible and non-credible groups significantly differed on all
          Dot Counting Test scores, with non-credible subjects scoring higher. As shown in Table 4,
          when cut-offs were selected to maintain at least 90% specificity in the credible group, the
          E-score cut-off was ≥13.80. Credible patients who failed one (n = 62) versus 0 (n = 80) PVTs
          were compared on Dot Counting Test scores; while the group failing one PVT scored slightly
          higher than the group with no failures, no differences reached statistical significance
          (p ≥ .300). For example, the mean E-score in the group with zero failures was 10.46 ± 3.61,
          while the mean E-score in the group with one failure was 11.48 ± 7.98 (t = −1.026; p = .307).
          More importantly, inclusion of the patients with one PVT failure did not impact selection of
          the optimal E-score cut-off. The cut-off associated with ≥90% specificity in the group with
          one PVT failure was ≥14.00, while the cut-off at ≥90% specificity in the group with zero PVT
          failures was ≥13.80, as was the cut-off which achieved ≥90% specificity in the credible group
          as a whole.
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          Table 4. Specificity and sensitivity values for dot counting e-scores.
                                  Specificity                                     Sensitivity
                            All         Somatoform       All         mTBI       Severe TBI      Depression    Psychosis
          E-score        (n = 142)         (n = 18)   (n = 335)    (n = 138)     (n = 21)        (n = 20)      (n = 31)
              ≥13.00        86.6              77.8       73.4         60.9         85.7            80.0          93.5
              ≥13.50        88.0              77.8       70.7         58.0         81.0            80.0          90.3
              ≥13.70        89.4              77.8       69.9         56.5         81.0            80.0          90.3
              ≥13.80        90.8             77.8        69.6         55.8         81.0            80.0          90.3
              ≥13.90        91.5              77.8       68.4         54.3         76.2            80.0          90.3
              ≥14.00        92.3              77.8       68.1         54.3         76.2            80.0          87.1
              ≥14.20        93.0              83.3       66.6         54.3         71.4            75.0          87.1
              ≥14.50        93.0              83.3       64.8         51.4         71.4            75.0          87.1
              ≥14.70        93.0              83.3       63.3         48.6         71.4            70.0          87.1
              ≥14.80        93.7              88.9       62.1         47.8         71.4            70.0          83.9
              ≥15.00        94.4              94.4       60.9         46.4         66.7            70.0          80.6
              ≥15.50        95.8              94.4       59.4         43.5         66.7            65.0          80.6
              ≥16.00        96.5              94.4       56.4         39.9         66.7            55.0          77.4
              ≥16.50        96.5              94.4       53.1         37.7         57.4            45.0          74.2
              ≥17.00        96.5              94.4       51.6         36.2         52.4            45.0          71.0
              ≥18.00        97.2            100.0        46.6         34.8         47.6            35.0          61.3
              ≥19.00        97.9            100.0        43.6         31.9         42.9            30.0          54.8
              ≥20.00        97.9            100.0        38.2         26.1         42.9            25.0          54.8
              ≥21.00        98.6            100.0        34.3         24.6         42.9            20.0          41.9
              ≥22.00        98.6            100.0        28.7         18.8         33.3            15.0          38.7
              ≥23.00        98.6            100.0        25.4         15.9         33.3            10.0          32.3
              ≥24.00        98.6            100.0        21.8         14.5         28.6              5.0         29.0
              ≥25.00        98.6            100.0        19.7         13.8         28.6              5.0         29.0
              ≥26.00        98.6            100.0        18.2         12.3         28.6              5.0         25.8
              ≥27.00        98.6            100.0        17.3         12.3         28.6              5.0         22.6
              ≥30.00        98.6            100.0        14.3         10.1         28.6              5.0         22.6
              ≥35.00        99.3            100.0        10.1          5.8         23.8              0           16.1
              ≥40.00        99.3            100.0         5.7          4.3          4.8              0             6.5
              ≥45.00        99.3            100.0         4.2          2.9          4.8              0             3.2
              ≥60.00        99.3            100.0         2.4          2.2          4.8              0             3.2
              ≥78.50       100.0            100.0          .6            .7         4.8             0             0
              ≥86.00       100.0            100.0          .3          0            4.8             0             0
          Note: mTBI = mild traumatic brain injury; TBI = traumatic brain injury; bolded font = values associated with the
           recommended cut-off of 13.8.


             As shown in Table 4, sensitivity of the cut-off of ≥13.80 in the non-credible group was
          69.6%. The Dot Counting Test E-score cut-off was then applied to the largest non-credible
          subgroups (mild traumatic brain injury, n = 138; psychosis, n = 31; severe traumatic brain
          injury, n = 21; depression, n = 20) to determine cut-off sensitivity in the context of these
          claimed diagnoses. The E-score cut-off achieved 90.3% sensitivity in claimed psychosis, 80.0%
          sensitivity in depression, and 81.0% in severe traumatic brain injury, but only 55.8% sensitivity
          in mild traumatic brain injury.
             Sensitivity was also examined for individual Dot Counting Test scores. When cut-offs were
          selected to maintain at least 90% specificity, the grouped dot counting time cut-off was
          ≥4.20″, the ungrouped dot counting cut-off was ≥8.85″, and the cut-off for errors was 4.
          Sensitivity of these cut-offs in the non-credible group was 66.0% for grouped dot counting
          time, 52.2% for ungrouped dot counting time, and 24.5% for errors. However, failure on one
          or more of these three individual test score cut-offs occurred in 19% of the credible patients,
          an unacceptably high false positive rate. By making the cut-offs slightly more stringent, we
          were able to lower the false positive rate for the three cut-offs in combination to an accept-
          able level. Specifically, when individual cut-off scores were adjusted to ≥6.0″ for grouped
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          dot counting time, ≥10.0″ for ungrouped dot counting time, and the cut-off for errors was
          maintained at ≥4, only 11.3% of the credible sample failed one or more of these cut-offs,
          while sensitivity for failure of at least one of these cut-offs was 63.6%.
             The 10% (n = 14) of credible patients who met or exceeded the E-score cut-off of 13.80
          were examined for characteristics that might predispose to Dot Counting Test failure in
          credible populations. As shown in Table 5, those scoring beyond the cut-off were fairly
          equally represented between men and women, the mean age of 42.36 was not different
          from that of the larger credible sample (42.04), the mean educational level of 13.36 was not
          different from that of the larger credible sample (13.33), the percentage who were ESL or
          learned English concurrently with another language (14.29%) was actually lower than the
          larger credible sample (23.40%), the mean FSIQ of 95.00 was not different from that of the
          larger credible sample (100.00), and ethnic distribution percentages were comparable to
          the larger credible sample (e.g. 50% Caucasian in both groups). However, the subsample
          exceeding the E-score cut-off obtained a mean WAIS-III Arithmetic subtest score lower than
          that of the larger credible sample (7.43 vs. 8.78). Arithmetic subtest scores were modestly
          correlated with Dot Counting E-scores in the entire credible sample (r = −.263), and in
          patients who obtained an Arithmetic ACSS ≤ 7, the E-score failure rate was slightly inflated
          (14.8% false positive rate). In addition, somatoform diagnoses were overrepresented in the
          subset failing the E-score cut-off; specifically, four of the 14 patients (28.57%) exceeding the
          cut-off had primary diagnoses of somatoform (n = 4) disorder; as shown in Table 4, 22% of
          the entire credible subsample with diagnoses of somatoform disorder (n = 18) failed the
          E-score cut-off.


          Discussion
          In this cross-validation study of effectiveness of the Dot Counting Test as a performance
          validity indicator in a very large ‘real world’ sample of 142 credible and 335 non-credible
          patients referred for neuropsychological assessment, the E-score cut-off of ≥17 recom-
          mended in the original validation study (Boone et al., 2002) continued to show excellent
          specificity (96.5%). However, sensitivity dropped from 71.8% documented in 2002 to 51.6%


          Table 5. Characteristics of the 14 credible patients scoring beyond the e-score cut-off.
          E-score             Diagnosis            Age        Educ.       Gender        ESL         Ethnicity        FSIQ      Arith.
          69.2           Learning disability        30         12           M           No       Caucasian            90          4
          34.8           Stroke                     55         13           F           No       Caucasian            95          7
          20.3           Psychotic disorder         54         18           M           No       Hispanic            102         10
          18.4           Psychotic disorder         46         11           M           No       AA                   91          9
          17.5           Somatoform dis.            60         14           F           No       Caucasian            98          6
          16.0           Cognitive dis. NOS         25         12           M           No       Asian                83          7
          15.2           Depression                 30         11           F           Yes      Hispanic             90          6
          15.2           Anoxia                     38         14           F           No       Caucasian            91          6
          15.0           Somatoform dis.            40         14           F           Yes      Hispanic             95          4
          14.8           Somatoform dis.            45         13           M           No       Hispanic             91          6
          14.2           Somatoform dis.            49         13           M           No       Caucasian            97         10
          14.0           Cognitive dis. NOS         22         14           F           No       Mid. Eastern        100         12
          13.9           Learning disability        49         14           M           No       Caucasian           102          9
          13.8           Substance abuse            50         14           M           No       Caucasian           105          8
          Mean                                     42.36      13.36                                                  95.0       7.43
          Notes: Educ. = Educational level; ESL = English as a Second Language status; FSIQ = Full Scale IQ; Arith. = WAIS-III Arithmetic
           subtest ACSS; Dis. = Disorder; NOS = Not Otherwise Specified; AA = African American; Mid. Eastern = Middle Eastern.
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          in the current sample. When the cut-off was lowered to ≥13.80, adequate specificity was
          maintained (≥90%) in the current credible sample, and sensitivity rose to (70.0%). Other
          recent studies have supported lowering of the E-score cut-off (Robles et al., 2015; Soble et
          al., 2017). We opted to dispense with the original ‘rounding’ procedure described on the
          published test score sheet because it is somewhat cumbersome and provides no advantage;
          in fact, use of a cut-off of 13.8 as compared to the ‘rounded’ score of 14.0 slightly raised test
          sensitivity. We therefore recommend future omission of the rounding procedure in favor of
          simple calculation of mean ungrouped dot counting time + mean grouped dot counting
          time + number of errors.
              The question arises as to why the E-score cut-off could be lowered from that recom-
          mended in the 2002 study and still achieve adequate specificity. The original validation
          study included credible patients with dementia in residential placement, and no exclusions
          based on IQ were employed (i.e. patients with IQ < 80 were not excluded). The inclusion of
          such patients requires an elevated E-score cut-off in order to be adequately protective of
          these groups. In the current study, no patients with dementia or IQ < 80 were included in
          the credible group, allowing the cut-off to be lowered, and thereby retaining sensitivity at
          a higher level. To illustrate, when Dot Counting Test data were analyzed on 13 patients
          meeting criteria for the credible group with the exception that FSIQ was 70–79, the mean
          Dot Counting E-score was substantially higher than that of the other credible patients
          (14.17 ± 3.61), and eight of these patients with borderline IQ exceeded the cut-off of 13.80
          (38.5% specificity); the cut-off had to be raised to > 18.50 to achieve at least 90% specificity
          in this subgroup. When these patients are included in the credible group, the cut-off had
          to be raised to 14.80 to maintain adequate specificity. Due to evidence that patients with
          low average, average, high average, and superior IQ fail comparable percentages of PVTs
          (i.e. ≤8%) as compared to the 17% failure rate in individuals with borderline IQ and 44%
          failure rate in patients with IQ of 60–69 (Dean et al., 2008) and the ≥36% failure rate in
          patients with dementia (Dean et al., 2009), we believe it is preferable to develop PVT cut-offs
          specific for these latter groups. In the differential diagnosis of actual versus feigned demen-
          tia, the clinician is referred to the Dean et al. (2009) study for Dot Counting Test cut-offs
          appropriate for use with dementia, and to the Smith et al. (2014) paper which provides Dot
          Counting Test cut-offs appropriate in the differential of actual low IQ (≤75) versus feigned
          low IQ. However, the clinician is cautioned that sensitivity rates are low with these adjusted
          cut-offs.
              The 10% of credible patients who exceeded the E-score cut-off of ≥13.80 were examined
          for risk factors for failure. The subgroup was of comparable age, educational level, ESL status,
          Full Scale IQ, and ethnic distribution as the larger credible sample. However, the subsample
          exceeding the E-score cut-off obtained a mean WAIS-III Arithmetic subtest score lower than
          that of the larger credible sample, and the E-score false positive rate was mildly elevated in
          credible patients with Arithmetic ACSS ≤ 7 (15%). This finding suggests that clinicians should
          exert some caution in using the Dot Counting Test in test takers who might in fact have
          deficient math skills, particularly when premorbid or historical information documenting
          deficient math skill is available (e.g. math grades or academic testing in school) separate
          from concurrent Arithmetic subtest data (which could be subject to deliberate
          underperformance).
              Somatoform diagnoses (based on DSM-IV criteria frequently buttressed with MMPI-2/RF
          findings) were also overrepresented in the subgroup failing the E-score cut-off; specifically,
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          nearly 30% of the subgroup exceeding the cut-off carried these diagnoses, while nearly a
          quarter of all credible patients with these diagnoses scored beyond the cut-off. However,
          no somatoform patient exceeded an E-score cut-off of 17.5, which suggests that scores
          beyond this level are likely consistent with deliberate feigning. In contrast, Dot Counting
          Test E-scores between 13.80 and 17.5, without confirming evidence of non-credible perfor-
          mance based on additional PVT data, may signal somatoform symptom production. Research
          has shown that it is not unusual for somatoform patients to fail a single PVT, but that it is
          relatively rare for them to fail more than one (Kemp et al., 2008). The view that more extreme
          failures on the Dot Counting Test would be consistent with deliberate feigning meshes with
          interpretation strategies employed on other psychological tests. For example, on the MMPI-
          2-RF, somatoform patients are described as obtaining intermediate elevations on symptom
          over-report scales (Sellbom, Wygant, & Bagby, 2012), but extreme elevations in the context
          of normal VRIN-r/TRIN-r are judged to reflect malingering (Ben-Porath, 2012). Conclusions
          regarding use of the Dot Counting Test to identify somatoform presentations should be
          viewed as tentative given the relatively small size of the somatoform subgroup (n = 18).
              It is of note that a sizable minority (41%) of patients in the non-credible group were
          claiming residuals from mTBI, whereas only one credible patient presented with this diag-
          nosis (<1%). In the outpatient hospital-based evaluation setting from which the credible
          patients were drawn, virtually no patients who were not compensation-seeking were referred
          for neuropsychological assessment of mTBI because such patients in fact recovered and
          were not viewed as needing evaluation by treaters, as is the expected outcome with mTBI
          (see Boone, 2013, for review).
              Effectiveness of the Dot Counting Test E-score in detecting subtypes of non-credible
          presentations was also examined. The E-score cut-off of ≥13.80 achieved 90.6% sensitivity
          in claimed psychosis, 80/0% sensitivity in claimed depression, and 81.0% sensitivity in severe
          traumatic brain injury, but only 55.8% sensitivity in mild traumatic brain injury. Thus, the Dot
          Counting Test appears to be more sensitive to feigned cognitive symptoms associated with
          psychiatric and severe TBI presentations than to non-credible cognitive performance in mTBI.
          These findings suggest that the Dot Counting Test may have a particular role in detection
          of non-credible cognitive performance in claimed psychiatric presentations, a finding similar
          to that observed for the b Test (Roberson et al., 2013). Both the b Test and the Dot Counting
          Test assess for non-credible deficits in processing speed and visual scanning, and these
          appear to be more prominent in claimed psychiatric presentations than in non-credible mild
          TBI. Other literature has shown that individuals feigning symptoms in the context of mild
          TBI focus more on producing verbal memory deficits (Nitch, Boone, Wen, Arnold, & Alfano,
          2006). Taken together these data suggest that non-credible test takers adopt differing strat-
          egies for feigning depending on the condition they are attempting to mimic, and that
          non-credible test takers feigning in the context of mTBI apparently perceive that reduced
          memory should be exhibited as a part of this condition, while individuals feigning in the
          context of psychiatric disorders perceive that cognitive slowing should be displayed in these
          presentations.
              If the Dot Counting Test is used in evaluating performance validity in mTBI patients, it
          should be recognized that a substantial minority (44%) of this population will not be
          detected. In fact, the apparent lowering of Dot Counting Test sensitivity over time in our
          publications appears to be an artifact of increasing rates of mTBI patients in our non-credible
          patient group. We did not gather data on diagnosis in our non-credible patients in the original
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          2002 validation study, but in the current data-set, 34.8% of the non-credible mTBI patients
          were tested between the years 2001 and 2008, as opposed to 65.2% tested between 2009
          and 2016, a significant difference (X2[1, N = 138] = 25.41, p < .0001). Correspondingly, sen-
          sitivity of the original E-score cut-off of 17 declined from 60.1% for cases collected between
          2001 and 2008, to 40.8% for cases tested between 2009 and 2016. It is of note that in the
          Soble et al. (2017) investigation, which documented sensitivity of 55% using an E-score cut-
          off of 17 in a general neuropsychological sample, approximately 40% of the non-credible
          group was comprised of individuals claiming mTBI. Thus, the Soble et al. (2017) non-credible
          sample closely matches that of the current study (41% claimed mTBI), and interestingly,
          overall sensitivity rates of the E-score of 17 are comparable between studies (55% vs. 52%).
              The E-score, incorporating both time and error data, achieved higher sensitivity than
          cut-offs applied to individual Dot Counting Test scores (70% vs. 25–66%). However, there
          maybe instances in which the clinician may elect to apply cut-offs to individual Dot Counting
          Test scores (mean grouped dot counting time, mean ungrouped dot counting time, number
          of errors) rather than use the E-score. For example, a test taker may commit an excessive
          number of errors, but due to rapid completion time may still pass the E-score cut-off. Only
          11.3% of the credible sample were found to fail one or more individual cut-offs (6.0″ for
          grouped dot counting time, 10.0″ for ungrouped dot counting time, and four errors), while
          nearly two-thirds (63.6%) of the non-credible sample were detected. This method identified
          10% of non-credible patients not detected by the E-score, indicating that it has effectiveness
          as an alternative interpretation strategy when using the Dot Counting Test.
              If at the start of the examination a test taker appears to be adopting a sole or primary
          feigning strategy of being very slow but accurate, or very fast but inaccurate, the clinician
          can decide to use individual cut-offs that will better document the specific type of feigning
          strategy. In contrast, the E-score sets a wider net to detect the largest number of non-credible
          test takers, but becomes diluted when a test taker is opting for a single feigning approach
          (e.g. slow but accurate, fast but inaccurate). We anticipate that in the vast majority of cases,
          clinicians will find use of the E-score adequate and appropriate. If the clinician chooses to
          employ both the E-score and the three individual scores, the false positive rate is 14.8%.
              In terms of study limitations, we obtained non-credible patients from two different set-
          tings: a private practice primarily involving civil litigants, and a hospital-based neuropsy-
          chology clinic which evaluated disability-seekers. We do not have data on the percentage
          of non-credible patients obtained from each site although we estimate that it was gathered
          in approximately equal proportions from each setting. The relative percentage of personal
          injury litigants versus disability-seekers may have impacted study findings in unknown ways.
              In conclusion, cross-validation data show that the original Dot Counting Test cut-off scores
          can be made more stringent, while still maintaining low false positive rates, and thereby
          detect 70% of non-credible test takers. Thus, the Dot Counting Test continues to be a valuable
          technique in the identification of performance invalidity.


          Disclaimer
          The views expressed herein do not necessarily represent the views of the Veterans
          Administration Tennessee Valley Healthcare System or the United States.
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          Disclosure statement
          Dr. Boone derives royalties from two of the PVTs used in the study (b Test and Dot Counting Test), and
          Drs. Boone, Ermshar, Victor, and Ziegler are forensic consultants.


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